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                        Exhibit U
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       Ge@
        The GEO Group, Inc:.
                                  POLICY and PROCEDURE MANUAL

                               CHAPTER: Sanitation
                                                                                  NUMBER:
                                                                                 12.1.4 .. AUR

         Aurora/1.C. E.        TITLE: Sanitation Procedures                    §UPERSEDES:
       Processing Center
                               RELATED ACA STANDARDS: 4-ALDf-1A-                   2/13/04
                               01, 1A-02, 1A-04, 1A..07



      I. POLICY

         To provide staff and detainees with a clean sanitary living environment consistent
         with all applicable codes, standards and sound detention practice.

      II. PROCEDURES

         The Facility Fire Safety Manager {FFSM) will develop and oversee procedures that
         ensure the facility's sanitation plan is carried out; however, ensuring high standards
         of housekeeping and sanitary practices in the various areas of the facility is the
         responsibility of each department head.

         A. Housekeeping Plan

             A written housekeeping plan will be developed for each area of the facility,
             including common areas such as halls, exterior walks, etc. These plans will be
             prepared as directed by the FFSM, the Director of Security, and the head of the
             department involved.

             Plans will include a cleaning schedule for the area; specific assignments for
             detainees assigned to sanitary duties; a time schedule for completion; and
             specific instructions for cleaning cells, dayrooms, and other common areas,
             floors and doors, storage areas, other program areas, walls and windows, toilet
             and shower facilities, and equipment.

             Housekeeping plans for all areas will be forwarded to the FFSM for review and
             approval. Copies of all approved plans will be distributed and maintained in the
             offices of the department head responsible for the area, the Watch Commander,
             the FFSM, and the Director of Security.

             Waste disposal procedures will be included in the sanitation plan, providing for
             proper collection, storage, and disposal of all liquid and solid waste
             accumulations for each area.



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             Necessary cleaning supplies and equipment wm be procured from the Supply
             Officer. Detention Officers and other department heads are responsible for the
             secure, hygienic storage of all cleaning supplies, including the proper storage of
             mops and other wet items.

          B. Detainee Sanitation Responsibilities

              Each detainee will be responsible for the cleanliness of his or her cell or living
              area, including walls, floors, sink, toilet, windows, and other property within the
              cell, room, or living area.

              Beds will be made neatly and tightly. Nothing will be placed over windows, lights,
              vents, bars or grilles. Shoes will be neatly lined up under the edge of the bed.
              All personal property will be stored in the locker/container provided. Detainee
              personal property storage and limits will be enforced in the process of all
              sanitation inspections.

              Cleaning materials and articles for cleaning will be issued by the Dormitory
              Officer to each detainee. The detainee is responsible for the proper use and
              care of these articles.

          C. Dormitory Sanitation

              At 7:00 a.m. each day, the following items will be issued:

                  •   Mops and buckets
                  •   Brooms
                  •   Scrub brushes
                  •   Cleaning rags
                  •   Cleaners for use in cleaning toilets and showers

              Cleaning items will be secured each day by 10:00 a.m.; before and after issue
              staff will inspect all cleaning equipment for safety, cleanliness and damage.

              At 10:30 a.m. and 5:30 p.m. each day, the following items wm be issued:

                  •   Mops and buckets
                  •   Brooms
                  •   Cleaning rags

               Cleaning items will be secured each day by 12:00 p.m. and 7:00 p.m .•
               respectively. Staff will inspect all cleaning equipment for safety, cleanliness and


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              damage, before and after issue.

             The Dormitory Officer and Watch Commander are responsible for inspection of
             all cleaning.

              Cleaning implements will be kept in the janitorial closet, so as to provide for
              proper ventilation and drying.

          D. Segregation/Special Management Unit Sanitation

              Cells will be cleaned daily and as detainees are transferred or released. This will
              include cleaning the toilet/sink areas, mopping the floor and wiping down flat
              surfaces.

          E. Common Area Sanitation

              The 1st Shift is responsible for cleaning corridors and other common areas of the
              facility. Detainee workers will conduct the cleaning.

              Waxing of corridors and dormitory floors will be done as needed during the week
              on 1st Shift Afl floors will be kept clean, dry, and free of hazardous substances.

              The Watch Commander will inspect common areas for compliance with an
              sanitation standards and oversee the correction of any deficiencies.

          F. Inspection Program

              Pre-assigned staff members will conduct daily inspections of sanitation levers in
              all areas of the facility. These inspections will be ln addition to the security
              inspections conducted under Policy and Procedures 5.9. 7.1 . A record of these
              inspections will be filed with the Director of Security.

              Post orders will reflect the areas of sanitation and inspection responsibility for
              each staff member.

              The Dormitory/Unit Officer will inspect all living areas daily and report any
              infraction of these regulations to the immediate supervisor. The officer will notify
              detainees of unsatisfactory conditions, in cases of continued noncompliance,
              staff will issue an incident report.

              Each department head wm personally inspect his or her department or area of
              responsibility at least once a week; that inspection will be logged.


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              The FFSM or the Assistant FFSM will conduct monthly inspections of sanitation
              levels in all areas of the facility and will keep a record of those inspections on file.

              The county Health Department will conduct annual inspections to ensure and
              document compliance with all applicable law and regulations related to sanitation
              and health. The Food Services Manager will keep a record of those inspections.

           G. Water Supply

              The facility's potable water source and supply1 owned and operated by the public
              water department, is certified at least annually by an independent, outside source
              to be in compliance with all jurisdictional laws and regulations.

           H. Maintenance Issues

              The facility will have an established system for reporting, responding to, and
              accounting for materials and labor relating to all facmty repairs.

              Major maintenance of toilets, wash basins, sinks, and other equipment in the
              facmty will be the responsibility of the Maintenance Department.


       THIS POLICY WILL BE REVIEWED AT LEAST ANNUALl V AND UPDATED AS
       NEEDED.




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        QUESTIONS/SUGGESTIONS REGARDING THIS POLICY SHALL BE ADDRESSED
        TO THE CHIEF Of SECURITY.

        APPROVED:                   ORIGINAL SIGNED                    DATE:         2/13/04
                               Warden/Facility Administrator

         REVISED/REVIEWED:                  r;f:art:~-                 DATE:   ll-1t1 -c:::;,y


         REVISED/REVIEWED:                                             DATE:


         REVISED/REVIEWED:                                             DATE:


         REVISED/REVIEWED:                                             DATE:


         REVISED/REVIEWED:                                             DATE:


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      The facility establishes this Housekeeping Plan to maintain the physical plant and to
      ensure that sanitation and safety practices comply with applicable laws, codes,
      regulations, and standards relating to sanitation and safety within the facility.

      Overview

      A clean, safe, and sanitary working and living environment requires certain general
      sanitation standards be maintained. Particular attention will be given to the following:

         1. Facility floors will be kept clean, dry and free of hazardous substances.
         2. Sinks and toilets will be clean and sanitary.
         3. Furniture, shelves, and countertops wifl be clean and free of dust.
         4. Windows and mirrors will be kept clean.
         5. Mops and rags will be laundered.
         6. Window sills, ledges, and door frames and tracks will be kept clean and free of
            dust and debris.
         7. Trash will be removed promptly and placed in the designated removal containers
            and/or areas.

      All safety and sanitation inspections will be conducted under the Facility Administrator's
      direction and authorization. The Facility Fire Safety Manager (FFSM) will be authorized
      to take all measures necessary to comply with the applicable laws and regulations of
      the county and state in regard to facility safety and sanitation.

      All staff members conducting sanitation inspections will furnish the Facility Administrator
      with written reports, including specific deficiencies noted during the inspection and the
      required corrective action. The FFSM will ensure deficiencies are corrected in the
      required amount of time and will confer with the inspecting staff member regarding
      documentation of corrective actions or any re-inspection that may be required.

      Inspections will include, but not be limited to ensuring the following:

         1. Floors are clean, dry, and free of hazardous substances.
         2. There are no unnecessary accumulations of flammables.
         3. Exits are not blocked and are usable.
         4. Fire equipment is accessible.
         5. No vermin or pest infestation is evident.
         6. There are no plumbing leaks in the water system.

      If any of these conditions exist, the supervisor will take immediate corrective action if
      possible, or a work order will be forwarded to the FFSM.

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       food Service Areas

       It is the responsibility of the Food Services Manager to ensure high sanitation standards
      are maintained in the food preparation and service areas. The Kitchen Supervisor will
      supervise the kitchen detainee work force in daily routing cleaning duties. The kitchen
      will be inspected and rated by the county Health Department at least annually.

      Medical Areas

      Special attention will be afforded the medical area to comply with health standards for
      cleanliness. The staff member supervising detainee workers will ensure they are under
      that individual's constant, direct visual observation while cleaning the medical area.

      Public Lobby

      The public lobby will be swept, mopped, and waxed as needed by detainee workers. All
      glass will be cleaned on an as-needed basis. Additionally, the lobby will be monitored
      for cleanliness throughout the day by assigned staff. Any hazards or unclean conditions
      will immediately be corrected by a detainee worker under an officer's supervision.

      Visitation

      All visitation areas will be cleaned as needed by detainee workers after the area is
      thoroughly searched by staff. All trash will be discarded, carpets vacuumed, and glass
      cleaned as needed. Carpets will, at a minimum, be cleaned once a quarter. This
      cleaning will be conducted on 1st Shift.

      Restricted Security Areas

      The control center and the Maintenance Shop will be off limits to detainees at all times
      (no exceptions). These areas will be cleaned by facility staff members. This cleaning
      will consist of cleaning counter areas, discarding trash, vacuuming the carpet, as
      needed, and cleaning all glass, as needed.

      Rear Sally Port Area

      The rear sally port area is a means of egress during emergency situations; therefore, it
      must be free of debris, parked vehicles, etc. It is the responsibility of the Intake Officer
      to ensure that this area is clear by the end of each day.


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       Liquid and Solid Waste

       Liquid waste will be disposed of through the waste water system. Mop bucket water will
       be disposed of by pouring the water down the designated mop bucket cleaning sink.
       Solid waste and trash will be removed from departments and housing units at least once
       each day and placed in the trash container.

       Carpet Cleaning

       All carpets will be cleaned at least once every quarter by detainee workers. Carpets
       may be cleaned more frequently as needed. All carpets will be vacuumed daily. 1st
       Shift will be responsible for this cleaning.

       Hazardous Materials

       All caustic, toxic, and flammable materials will be handled in accordance with Policy
       5.8.1.

       PestNermin Control

       The facility uses the service of a qualified professional extermination contractor. This
       service's purpose is to eliminate pest infestations and provide preventive treatment of
       future infestations.

       The professional contractor will service the facility at least once a month; this schedule
       may vary from time to time in areas such as the facility kitchen. 1f necessary, additional
       preventive treatments may be scheduled by the FFSM,

       Housekeepers

       Supervising housekeepers is the responsibility of the officers assigned to the
       dormitory/unit Supervision includes assigning duties, training newly assigned
       detainees on their task, supervising work as it is done and removing detainees who do
       not perform.

       Dormitory/Unit Officers must notify the Director of Security of any detainee removed
       from worker status for nonperformance for duties or for vacancies that occur due to a
       release or transfer. The Classification Department is responsible for assigning the next
       eligible detainee in that dormitory/unit to fill the vacancy.



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       Dormitories

       On a weekly basis or as needed, all dorms will be subject to a total sanitation project to
       assure standards are met and maintained. The responsibility for cleaning will be shared
       by 2nd and 3rd shifts. 2n° Shift will be responsible for the West side and 3rd shift
       responsible for the East side. The following schedule wm be followed:

                   WESTSIDE                                                  EAST SIDE

             Monday            A      Dorm                              Monday    L   Dorm
             Tuesday           B      Dorm                              Tuesday M Dorm
             Wednesday         C      Dorm                              Wednesday     N    Dorm
             Thursday          D      Dorm                              Thursday X    Dorm
             Friday            E      Dorm                              Friday   y Dorm
             Saturday          F      Dorm                              Saturday z    Dorm
             Sunday            G      Dorm                              Sunday    Seg/SMU

                                              FACILITY CLEAN-UP
                                          DAILY CLEANING SCHEDULE

            AREA                    CLEANERS AND                           SPECIAL INSTRUCTIONS
                                    DISINFECTANTS
                                          USED
       Floors                 Virex 11~256 Disinfectant            Sweep and damp mop.
       (Hallways, East        (diluted)                            Strip, seal and wax and spray buff as
       and West Cores,                                             needed.
       Intake, Medical
       Area and East
       Recreation)
       Windows                Glance® Glass Cleaner                Clean windows and wipe down surfaces
       And Window Sills       {diluted)                            to keep them dust-free
       Sinks, Commodes        ScaJeaway@, Tri Sodium               Clean surfaces with cloth, scrubbing pad
       and Showers            Phosphate (TSP), Non-Acid            or brush using the appropriate cleanser.
                              Toilet Bowl Cleaner and
                              Vire.x 11-256 Disinfectant
                              (diluted}
       Stainless Stool        High Shine                           Wipe down surfaces with cloth
       (Showers, Sinks)
       Trash Receptacles      Virex II- 256 Disinfectant           Empty and wipe down daily
                              (diluted)
       Furniture and          Virex II - 256 Disinfectant                Wipe down surfaces with cloth
       Equipment              (diluted) _____________   ··-···~········
       Stainless Steel        High Shine                                ··wipe down surfaces-with cloth
       (Showers, Sinks)

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                                    HOUSING UNIT CLEANING SCHEDULE
                                       ASSIGNED HOUSEKEEPERS
                                       AND DORMITORY TRUSTEE

                AREA                    SCHEDULED               CLEANERS ANO                SPECIAL
                                         CLEANING               DISINFECTANTS            INSTRUCTIONS
                                                                     USED
       Floors                   Once per shift {more often   Virex 11-256             Sweep and damp mop
                                if needed)                   Disinfectant (diluted)
       Divider Walls,           Once per shift {more often   Glance® Glass            Clean windows and
       Windows                  if needed)                   Cleaner {diluted}        wipe down surfaces to
       And Window Sills                                                               keep them dust-free
       Sinks, Commodes          Once per shift (more often   Scaleaway®, Tri          Clean surfaces with
       and Showers              if needed)                   Sodium Phosphate         cloth, scrubbing pad or
                                                             (TSP), Non-Acid Toilet   brush using the
                                                             Bowl Cleaner and         appropriate cleanser.
                                                             Virex II -256
                                                             Disinfectant (diluted)
       Trash Receptacles        Daily                        Virex 11- 256            Empty and wipe down
                                                             Disinfectant (diluted}   daily
       Furniture                Once per shift               Virex II - 256           Wipe down surfaces
                                                             Disinfectant (diluted}   with cloth
       Equipment                Each Shift                   Virex II - 256           Wipe down surfaces
                                                             Disinfectant (diluted)   with cloth
       Stainless Steel          Once per shift)              High Shine               Wipe down surfaces
       (Showers, Sinks)                                                               with cloth
       Mattresses               Upon movement of             Virex II - 256           Wipe down surfaces
                                detainees                    Disinfectant (diluted)   with cloth
       Light                    Once a month                 Vil'ex 11-256            Wipe down surfaces
       FixturesNents/Air                                     Disinfectant (diluted)   with cloth. Use air
       Ducts                                                                          compressor to clean
                                                                                      vents. (Done by
                                                                                      Maintenance Trustee).




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                                                 KITCHEN
                                            CLEANING SCHEDULE

           AREA               SCHEDULED                  CLEANER&                     SPECIAL
                                CLEANING               DISINFECTANTS               INSTRUCTIONS
      Tables and Sinks,   After every use         Pro Ouat 100                 Polish with High Shine
      Stainless Steel                                                          everv Wednesdav
      Pots and Pans       After every use         Lemon Pot and Pan            Use 3-sink table and
                                                  Deareaser                    sanitize
      Ovens and Grill     After every use         Pro Kling Foaming Oven and   Degrease every
                                                  Grill Cleaner                Thursday with
                                                                               degreaser
      Dishwasher          After every use         Descaler                     De-lime every
                                                                               Thursday and polish
                                                                               with high shine
      Chemical Room       Daily                   Kitchen degreaser.           Sweep and mop.
                                                                               Restock cabinet
                                                                               weekly
      Floors              Hour1y or as needed     Kitchen degreaser            Monitor constantly,
                                                                               Use 'Wet Floor" signs
      Storeroom           Daily                   Kitchen degreaser            Seep and mop. Every
                                                                               Monday move racks
                                                                               from the wall and mop
                                                                               floor.
      Hoods and filters   Twice daily             Grease cutter                Clean the filters every
                                                  High shine                   Monday and polish
                                                                               with hiah shine.
      Freezer and         Every Tuesday           Freezer clean                Sweep floor and wipe
      refrigerator                                                             down the racks
      Kettles             After every use         Lemon Pot and Pan            Every Tuesday shine
                                                  degreaser                    the exterior surface
                                                  Hiah shine                   with high shine.
      Bathroom            Once per shift          Scaleway, Tr1Sodium          Check every shift.
                                                  Phosphate (TSP), Non-Acid    Sign out chemicals
                                                  Toilet Bowl Cleaner and      from laundry (supply)
                                                  deoreaser                    durina assigned hours.
      Food warmer and     Daily                   High Shine / degreaser       Inside - weekly with
      food carts                                                               degreaser; outside
                                                                               daily with high shine.




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                                                                 HOUSEKEEPING PLAN                               ATTACHMENT TO
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                                                   POLICY AND PROCEDURE MANUAL                                             AUR




       QUESTIONS/SUGGESTIONS REGARDING THIS POLICY SHALL BE ADDRESSED
       TO THE FACILITY FIRE SAFETY OFFICER..

       APPROVED: _ _--=O,,,,.R=IG=""I=-N,,,,,,A=L'-'-S=IG..;..N
                                                           __
                                                            , =E----D_ _ _ __                               DATE: _ _-=2:-,'1...
                                                                                                                              L-10__,4

                 Facility Fire Safety Officer

                                                                                                            DATE: _ _ _2_!1_3_/0_4
                                V./arden/Facility Adrninistrator\

       REVlSED!REVlEWED:{:...._··....>~»::4</lr(l::u:·''."_;,·>"""l""'i"""./~/"-!L"'.....-,_·· _.:-_ _ __
                              Faciiity Fire Safoty Officer

       REVISED/REVIE\VED:                                       O.t.g~
                                                              en/F adlity Administrator

       REVISED/REVlE\\TED: _ _ _ _ _ _ _ _ __                                                               DATE: _ _ _- -
                           Facility Fire Safety Ofi1cer

       REVISED/REVIEWED: _ _ _ _ _ _ _ _ __                                                                 DATE: _ _ _ _-
                         Warden/Facility Adrnini strator

       REVIS.ED/REVIE\VED:_-_ _ _ _ _ _ __                                                                  DATE: _ _ __
                        Facility Fire Safoty Offict'.f

       REVISED/REVIE\VED: _ _ _ _= - - - - -                                                                DATE:_-_ __
                                                    Warden/Facility Administrator

       REV1SED/REVIE\VED: _ _ _ _ _- _ _ _ __                                                               DATE: _ _ __
                          Facility Fire Safety Officer

       REVISED/REVlEWED: _ _ _ _ _ _ _ _- -                                                                 DATE: _ _ _ __
                         V,/arden/Fadlity Administrator

       REVISED/REVIEWED: _ _ _ _ _- _ _ __                                                                  DATE: _ _ __
                         Facility Fire Safety Officer

       REVISED/REVIE\VED:_~---~----                                                                         DATE: _ _ __
                                                    Warden/F acihty Adrninist.rntor




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                                       Aurora/ICE Processing Center                   NUMBER:
                                    POLICY and PROCEDURE MANUAL                      12.1.4 -AUR
       Ge®  The GF.:O Group, Inc.
                                    CHAPTER: Sanitation
                                                                                   SUPERSEDES:
                                    TITLE: Sanitation Procedures
                                                                                       11/19/04
                                    RELATED ACA STANDARDS: 4-AlDF-1A-
                                    01, 1A-02 1 1A-04, 1A-07



       I.    POLICY

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             with all applicable codes, standards and sound detention practice.

       II. PROCEDURES

             The Facility Fire Safety Manager (FFSM) will develop and oversee procedures that
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                 accumulations for each area.



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    Ge®                         Aurora/ICE Processing Center
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               Necessary deaning supplies and equipment will be procured from the Supply
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                   •   Cleaning rags
                   •   Cleaners for use in cleaning toilets and showers

               Cleaning items will be secured each day by 10:00 a.m.; before and after issue
               staff will inspect all cleaning equipment for safety, cleanliness and damage.

               At 10:30 a.m. and 5:30 p.m. each day, the following items will be issued:

                   •   Mops and buckets
                   •   Brooms
                   •   Cleaning rags

               Cleaning items wm be secured each day by 12:00 p.m. and 7:00 p.m.,
               respectively. Staff will inspect all cleaning equipment for safety, cleanliness and
               damage, before and after issue.


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                                AurorallCE Processing Center
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               The Dormitory Officer and Watch Commander are responsible for inspection of
               all deaning.

               Cleaning implements wm be kept in the janitorial closet, so as to provide for
               proper ventilation and drying.

         D. Segregation/Special Management Unit Sanitation

               Cells will be cleaned daily and as detainees are transferred or released. This will
               include cleaning the toilet/sink areas, mopping the floor and wiping down flat
               surfaces.

         E. Common Area Sanitation

               The r·t   Shift is responsible for cleaning corridors and other common areas of the
               facility. Detainee workers will conduct the cleaning.

               Waxing of corridors and dormitory floors will be done as needed during the week
               on 1st Shift. All floors will be kept clean, dry, and free of hazardous substances.

               The Watch Commander wm inspect common areas for compliance with all
               sanitation standards and oversee the correction of any deficiencies.

         F. Inspection Program

               Pre-assigned staff members will conduct daily inspections of sanitation levels in
               all areas of the facility, These inspections will be in addition to the security
               inspections conducted under Policy and Procedures 5.9.7.1. A record of these
               inspections will be filed with the Director of Security.

               Post orders will reflect the areas of sanitation and inspection responsibility for
               each staff member.

               The Dormitory/Unit Officer will inspect all living areas daily and report any
               infraction of these regulations to the immediate supervisor. The officer will notify
               detainees of unsatisfactory conditions, in cases of continued noncompliance,
               staff will issue an incident report.

               Each department head will personally inspect his or her department or area of
               responsibility at least once a week; that inspection will be logged.

               The FFSM or the Assistant FFSM will conduct monthly inspections of sanitation


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                                 Aurora/ICE Processing Center
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               levels ln all areas of the facility and will keep a record of those inspections on file.

               The county Health Department will conduct annual inspections to ensure and
               document compliance with all applicable law and regulations related to sanitation
               and health. The Food Services Manager will keep a record of those inspections.

           G. Water Supply

               The facility's potable water source and supply, owned and operated by the public
               water department, is certified at least annually by an independent, outside source
               to be in compliance with a!! jurisdictional laws and regulations.

           H. Maintenance Issues

               The facility will have an established system for reporting, responding to, and
               accounting for materials and labor relating to all facility repairs.

               Major maintenance of toilets, wash basins, sinks, and other equipment in the
               facility will be the responsibility of the Maintenance Department.


       THIS POLICY WILL BE REVIEWED AT LEAST ANNUALLY AND UPDATED AS
       NEEDED.

       Gray highlighted areas are the changes made to the current revision.




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      QUESTIONS!SUGG.ESTiONS REGARDING THIS POLICY SHALL BE ADDRESSED
      TO THE ASSS!STANT FACILITY ACHVHNISTRATOR OF SECURITY OPERATIONS.




                                                         DATE:


      RE\/!SED/RE\/lEVVEO:                               DATE: _ _ __


      RE\/! SE D/REVI EVV ED:- - - - - -                 DATE: _____


      REViSEDiRE\/!EV\iED:,.,,_ _ _ _ _ _ _ __           DATE: - - - -


      REVISED/REV!E\t.JED: - - - - - - - · - » • » - -   DATE:


      REV!SED/REV!EvVED:-,                               DATE: _ _ __


      REVISED/REVIEWED: _ _ _ _ _ _ _ __


      REV!SED/RE\/!EVVED:                                DATE: _ _ __


      REVISED/REV! EVVED:- - - - - - - - - -             DATE: ~ - - - -


      REV!SED/REV!EVVED:- - - - - - -                    DATE:


      RE\/! SEO/REV! EVV ED:                             DATE: _ _ __



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      Ge@
        lhe GEO Group, inc,
                                      HOUSEKEEPING PLAN

                               POLICY ANO PROCEDURE MANUAL
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      The facility establishes this Housekeeping Plan to maintain the physical plant and to
      ensure that sanitation and safety practices comply with applicable laws, codes,
      regulations, and standards relating to sanitation and safety within the facility.

      Overview

      A clean. safe, and sanitary working and living environment requires certain general
      sanitation standards be maintained. Particular attention will be given to the following:

          1, Facility floors will be kept clean, dry and free of hazardous substances.
          2. Sinks and toilets will be clean and sanitary.
          3. Furniture, shelves, and countertops will be clean and free of dust
          4. Windows and mirrors will be kept clean.
          5. Mops and rags will be laundered.
          6. Window sills, ledges, and door frames and tracks will be kept clean and free of
             dust and debris.
          7. Trash will be removed promptly and placed in the designated removal containers
             and/or areas.

      All safety and sanitation inspections will be conducted under the Facility Administrator's
      direction and authorization. The Facility Fire Safety Manager (FFSM) will be authorized
      to take all measures necessary to comply with the applicable raws and regulations of
      the county and state in regard to facility safety and sanitation.

      All staff members conducting sanitation inspections will furnish the Facility Administrator
      with written reports, including specific deficiencies noted during the inspection and the
      required corrective action. The FFSM will ensure deficiencies are corrected in the
      required amount of time and will confer with the inspecting staff member regarding
      documentation of corrective actions or any re-inspection that may be required.

       Inspections will include, but not be limited to ensuring the following:

          1. Floors are clean, dry, and free of hazardous substances.
          2. There are no unnecessary accumulations of flammables.
          3. Exits are not blocked and are usable.
          4. Fire equipment ls accessible.
          5. No vermin or pest infestation is evident.
          6. There are no plumbing teaks in the water system.

       If any of these conditions exist, the supervisor will take immediate corrective action if
       possible, or a work order will be forwarded to the FFSM.



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       Food Service Areas

       It is the responsibility of the Food Services Manager to ensure high sanitation standards
       are maintained in the food preparation and service areas. The Kitchen Supervisor will
       supervise the kitchen detainee work force in daily routing cleaning duties. The kitchen
       will be inspected and rated by the county Health Department at least annually.

       Medical Areas

       Special attention will be afforded the medical area to comply with health standards for
       cleanliness. The staff member supervising detainee workers will ensure they are under
       that individual's constant, direct visual observation while cleaning the medical area.

       Public lobby

       The public lobby will be swept, mopped, and waxed as needed by detainee workers. All
       glass will be cleaned on an as-needed basis. Additionally, the lobby will be monitored
       for cleanliness throughout the day by assigned staff. Any hazards or unclean conditions
       will immediately be corrected by a detainee worker under an officer's supervision.

       Visitation

       All visitation areas will be cleaned as needed by detainee workers after the area is
       thoroughly searched by staff. All trash will be discarded, carpets vacuumed, and gfass
       cleaned as needed. Carpets will, at a minimum, be cleaned once a quarter. This
       cleaning will be conducted on 1st Shift.

       Restricted Security Areas

       The control center and the Maintenance Shop will be off limits to detainees at all times
       (no exceptions). These areas will be cleaned by facility staff members. This cleaning
       willconsist of cleaning counter areas, discarding trash, vacuuming the carpet, as
       needed, and cleaning all glass, as needed.

       Rear Sally Port Area

       The rear sally port area is a means of egress during emergency situations; therefore, rt
       must be free of debris, parked vehicles, etc. It ls the responsibility of the Intake Officer
       to ensure that this area is clear by the end of each day.

       Liquid and Solid Waste



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          Liquid waste will be disposed of through the waste water system. Mop bucket water wm
          be disposed of by pouring the water down the designated mop bucket cleaning sink.
          Solid waste and trash will be removed from departments and housing units at least once
          each day and placed in the trash container.

          Carpet Cleaning

          AH carpets will be cleaned at least once every quarter by detainee workers. Carpets
          may be cleaned more frequently as needed. Alf carpets will be vacuumed daily. 1st
          Shift will be responsible for this cleaning.

          Hazardous Materials

          All caustic, toxic, and flammable materials will be handled in accordance with Policy
          5.8.1.

          PestNermin Control

          The facility uses the service of a qualified professional extermination contractor. This
          service's purpose is to eliminate pest infestations and provide preventive treatment of
          future infestations.

          The professional contractor will service the facility at least once a month; this schedule
          may vary from time to time in areas such as the facility kitchen. If necessary, additional
          preventive treatments may be scheduled by the FFSM.

          Housekeepers

          Supervising housekeepers is the responsibility of the officers assigned to the
          dormitory/unit Supervision includes assigning duties, training newly assigned
          detainees on their task, supervising work as it is done and removing detainees who do
          not perform.

          Dormitory/Unit Officers must notify the Director of Security of any detainee removed
          from worker status for nonperformance for duties or for vacancies that occur due to a
          release or transfer. The Classification Department is responsible for assigning the next
          eligible detainee in that dormitory/unit to fill the vacancy.

          Dormitories

          On a weekly basis or as needed, all dorms will be subject to a total sanitation project to
          assure standards are met and maintained. The responsibility for cleaning will be shared
          by 2nd and 3rd shifts. 2nd Shift will be responsible for the West side and 3rd shift

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          responsible for the East side. The following schedule will be foflowed:

                                            WESTSIDE                                                              EAST SIDE

                        Monday                     A           Dorm                                             Monday                      L   Dorm
                        Tuesday                    B           Dorm                                             Tuesday                     M   Dorm
                         Wednesday C                           Dorm                                             Wednesday                       N      Dorm
                         Thursday                  D           Dorm                                             Thursday                    X   Dorm
                         Friday                    E           Dorm                                             Friday                      y   Dorm
                         Saturday                  F           Dorm                                             Saturday                    z Dorm
                         Sunday                    G           Dorm                                             Sunday                      Seg/SMU

                                                                     FACILITY CLEAN-UP
                                                                 DAilY CLEANING SCHEDULE
            ~'+4•++




                      AREA                         CLEANERS AND                               SPECIAL INSTRUCTIONS
                                                   DISINFECTANTS
                                                           USED
      i---F-lo-o-rs-·--------------··----t-V-i-re_x_l_l-2_5_6°'fiislnfo-ct-a-nt--+-S-w_e_e_p_a-nd·---damp mop.
          (Hallways, East                       {diluted)                                                 Strip, seal and wax and spray buff as
          and West Cores,                                                                                 needed.
          Intake, Medical
          Area and East
          Recreation)                           ----~---···
          Windows                               Glance ® Glass Cleaner                   Clean windows and wipe down surfaces
          And Window Sills                      {diluted) .........._____.......________t_o_ke_e_._·P_t_h_em dust-free
          Sinks, Commodes                       Scaleaway ®, Tri Sodium                  Clean surfaces with cloth, scrubbing pad
          and Showers                           Phosphate (TSP), Non-Acid                or brush using the appropriate cleanser.
                                                Toilet Bow! Cleaner and
                                                Virex II -256 Disinfectant
                                                (diluted)
        Stainless Steel                         High Shine                             i Wipe down surfaces with cloth

       {Showers, Sinks)                                                                      I

      1 Trash Receptacles Vlrex 11- 256 i5isinfectarii                                      ·1Empty and wipe down daily
      [_ _ _ _ _ _ _ ___,_(d_il_uted)                          ___ ,____ _.. _ , _ _ _ _ _ _                                 ..............._
        Furniture and        Virex II -256 Disinfectant                                        Wipe down surfaces with cloth
      1--Equiprnent      . __{9._i_l_1.:1_t§19) ........ .................    .............· - + - - - - - - - - - - -
        Stainless Steel   1 High Shine                                                         Wipe down surfaces with cloth
       _(Showers, Sinks) !




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                                                                                                         HOUSEKEEPING PLAN
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                   The GEO Group, Inc.
                                                                                                POLICY ANO PROCEDURE MANUAL                                                                            NUMBER: 12.1.4 ~AUR



                                                                                                HOUSING UNIT CLEANING SCHEDULE
                                                                                                   ASSIGNED HOUSEKEEPERS
                                                                                                   AND DORMITORY TRUSTEE
                                                                                                                                          -~------                                                                                                            -·----···------··--
                                         REA                                            I           SCHEDULED                                            CLEANERS AND                                 SPECIAL
                                                                                                     CLEANING                                            DISINFECTANTS                           INSTRUCTIONS
                                       ............................... _. ..,. ......                                                                           USED ........................
                                                                                            Once per shift (more often                                Virex 11-256                            Sweep and damp mop
      '        •   w~   •••+++++++++
                                       ·····················-~---~-----....~----
                                                                                        ! if needed)                                                  Disinfectant (dilute~L____
      : Divider Walls.                                                                  I Onc.e per shift (more often                                 Glance ® Glass                          Clean windows and
      '. Window s                                                                       1   if needed)                                                Cleaner (diluted)                       wipe down surfaces to
                                                                                        !
      : AndWi ndow SIiis                                                                1                                                                                                     keep_them dust-free
      ! Sinks, Corrimodes                                                               i Once per shift (more often                                  Scaleaway ®, Tri                        Clean surfaces with
      I and Showers                                                                     I if needed)                                                  Sodium Phosphate                        cloth, scrubbing pad or
                                                                                        ;                                                             (TSP), Non·Acid Toilet brush using the
                                                                                                                                                      Bowl Cleaner and                        appropriate cleanser.
                                                                                        f

                                                                                        ~
                                                                                                                                                      Virex 11 -256
      I                                                                                                                                               Disinfectant_ (diluted)
      i Trash Receptacles                                                                   Daily                                                     Virex 11-256                            Empty and wipe down
                                                                                                                                              - ~--
                                                                                                             ......................._.......... ..    Disinfectant (diluted)                  daily
                                                                                                                                                                                                                                       ··-
      1       Fumitu re                                                                     Once per shift                                            Virex 11 - 256                          Wipe down surfaces
                                                                                        f
                                                                                                                                                      Disinfectant (diluted)                  with cloth
                                                                                                                                                                                                          ----- ............-.
      j       Equipment                                                                 i Each Shift                                                  Virex Il - 256                          Wipe down surfaces
                                                                                        i                                                             Disinfectant (diluted)...........•. -
                                                                                                                                                                                              with doth       ~----••••••••••••••••••••••••••••••••••••··-·-----•-•~-····••••,as



      i Stainles-·s Steel                                                               I Once per shift)                                             High Shfne                              Wipe down surfaces
              (Showe rs,_Sinks)                                                         I
                                                                                                                                                                                              with doth
                                                                                                                                                                                                                    --·-·· ....•.......•..••
      l Mattres ses                                                                         Upon movement of                                          Virex ll - 256                          Wipe down surfaces
                                                                                            detainees                                                 Disinfectant (diluted)                  with cloth
                                           ------·-······-····             ..........

              Light                                                                         Once a month                                              Virex H-256                             Wipe down surfaces
              Fixtures!Vents/Air                                                                                                                      Disinfectant (diluted)                  with cloth. Use air
          j   Ducts                                                                                                                                                                           compressor to clean
                                                                                                                                                                                              vents. (Done by
                                       ·············-····---··-·········--              I                                                                                                     Maintenance Trustee).




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                                                                   KITCHEN
                                                              CLEANING SCHEDULE
          -----------------------------,----------,----------------------------------,---------------,
                AREA          SCHEDULED
                                    I             .           CLEANER &    !                                         SPECIAL
      i                             I
                                CLEANING         1          DISINFECTANTS                                     INSTRUCTIONS
      : Tables and Sinks,TAfter every use ____....,i_P_r_o_Q_u_a_t_1_00-----------1,--P-o-l-is_h_w-:-it---:--h----:-H-ig"""".h-::--Sc:-hi_n_e-------1

      ! ~~~:~~~ ~l~~            - -+-After-every--use -----------------+Lemon Pot and Pan                                   ~~:~:~~~=~f:!n_d_ __
      i                              '                                    I Degreaser                                       sanitize
      i Ovens and Grill                  After every use             Pro""'---K-li--ng_F_oa-m-in_g_O-c--v-e_n_a_n_d-+-D-e-g-re_a_s_e_e_v_e_ry______ __
                                                                    ~!
      [                                                                        Grill Cleaner                                Thursday with
      :                                                                                                                     degreaser
      I   Dishwasher                     After every use·------                Descaler_________________________            De-lime every
                                                                               Thursday and polish
                                                                               with  hlgh shine
          -----------+----------t------------------------- ----------------------------+---~~----------1
          Chemical Room Daily          Kitchen degreaser.                      Sweep and mop.
                                                                                                                            Restock cabinet
                                                                                                                            weekly
         Floors                  Hourly or as needed                          Kitchen degreaser                             Monitor constantly,                 --]
      __              ------+----------+---------------+----U_se                                                                  __~w_et_Floor"_signs_ ----j
         Storeroom               Daily                                        Kitchen degreaser                                Seep and mop. Every I
                                                                                                                               Monday move racks                  !
                                                                                                                               from the wall and mop !
                    - - - - l - - - - - - - - - - f - - - - - - - - - - - - - - - - - - · - - - · floor.                                                          i

         Hoods and filters       Twice daily                                  Grease cutter                                    Clean the filters every i
                                                                              High shine                                       Monday and polish
      -------------'f-·------------·------------· ------------·--- ---------·
                                                                                                                               with hicih shine.                  ,
         Freezer and             Every Tuesday                                Freezer clean                                    Sweep floor and wipe              i
         refrigerator                                                                                                          down the racks _________________
         Kettles                 After every use                              lemon Pot and Pan                                Every Tuesday shine                i
                                                                              degreaser                                        the exterior surface               I
      +--------+-----------___,,-H~ig'--,-h_s_h_in_e__-c:--                                         __________________________ with high shine.              ___ j
         Bathroom                Once per shift                               Scaleway, TriSodium                              Check every shift:·--              :
                                                                              Phosphate (TSP). Non-Acid                        Sign out chemicals                 I
                                                                              Toilet Bowl Cleaner and                          from laundry (supply}              •

                                                                              degreaser                                        during assiqned hours. 1
       -
         Food warmer and Daily                                                High Shine/ degreaser                            Inside - weekly withl'
         food carts                                                                                                            degreaser; outside
      ' - - - - - - - - - - - ' - - - - - - - - - - - ~ - - - - - - - - - - - - - - - - - - - - __ daily with high shine._________ _




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                                                                              ATTACHMENT TO
                              POUCY ANO PROCEDURE MANUAL                      NUMBER: 12.1A «AUR



       QUESTIONS/SUGGESTIONS REGARDING                  nus POLICY SHALL BE ADDRESSED
       TO THE F ACIUTY Ff RE SAFETY MANAGER

       APPROVED:           ORIGINAL SlGNED                                    DATE:             2/'11/04
                   Facility Fire Safety Manager

       APPROVED:          ORIGINAL SIGNED                                     DATE:             2/13/04
                   V\/arden/Faci!!ty Administrator

       RE\l!SED/REV!EVI/ED:       ORIGlNAL,,§!GN~E~D_ _                       DATE:           11/'19/04
                                                                                            ·-~·
                              Facility Fire Safety Manager

       REV!SED/REV!EV\lED:        ORIGINAL S~!G__N"""E"""D_·_ _               DATE;             '11/19/04
                              \/Varden/Fad !ity Adrn in !strator
                                                                                             OCT 2 r 2005
       REV!SED/RE\/!EWED:
                               ---·
                              Facillty Fire Safety fv1anager
                                                                              DATE:

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                                                                                        .   'CT 'i
                                                                              DATE:~-~ · ·. '"
                                                                                                     1
                                                                                                     1   2005
       REV!SEDlRE\/IE\tiED:



                              Faci!itv Fire Safety Manager

       REV!SED/REV!EVVED:,,»=----------
                   Vi a rden/F sci! !ty Administrator

       RE\/!SED/REVIE\IVED:                                                   DATE: _ _ __
                              - ---------
                              Fa c i! ity Fire Safety Mana,;;ier

                                                                              DATE: - - -
                              V\farden/Faci!ity Adrninistrator

       REV!SED/REV!EVVED: _ _ _ _ _- _ _ _ __
                          Facility Flre Safety Manager

       REV!SED/REV!EV./ED:_                               ....._   ........   DATE: - - - - - -
                              Warden/Facility Administrator




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         The GEO Group, Inc.
                                            HOUSEKEEPING PLAN

                                        POLICY AND PROCEDURE MANUAL
                                                                                   ATTACHMENT TO
                                                                                   NUMBER: 12.1.4 - AUR




                                                          KITCHEN
                                               CLEANING SCHEDULE
                                                                                                        -�--,.,.�------,
            AREA                   SCHEDULED                         CLEANER&               SPECIAL                    ;
                                    CLEANING                       DISINFECTANTS        INSTRUCTIONS
        Tables and Sinks, After every use                     Pro Quat 100           Polish with High Shine
         Stainless Steel                                                             every Wednesdav
         Pots and Pans        After every use        · "Lemon Pot and Pan            Use 3-sink table and
                                                        Deqreaser                    sanitize
         Ovens and Grill      After every use           Pro Kling Foaming Oven and Degrease every
                           '                            Grill Cleaner                Thursday with
                           j
      -·---                                                                       1 degreaser
         Dishwasher           After every use           Descaier                  : De-lime every
                                                                                     Thursday and polish
                                                  -·      I                          with htgh shine
                                                                                                                       i


         Chemical Room        DaHy                      Kitchen degreaser.           Sweep and mop.                    I
                                                                                     Restock cabinet
                                                                                     weekly
         Floors               Hourly or as needed       Kitchen degreaser            Monitor constantly,
                                                                                     Use "Wet Floor" sii::ins
         Storeroom          . Daily                     Kitchen degreaser            Seep and mop. Every
                                                                                     Monday move racks
                                                                                  ' from the wall and mop
                                                                             -·      floor.
                                                                                                                       '
          Hoods and fliers Twice daily                  Grease cutter                Clean the filters every
                                                        High shine                   Monday and polish
                                                                                     with hioh shine.
          Freezer and         Every Tuesday             Freezer clean                Sweep fioor and wipe
          refrigerator                                                               down the racks
          Kettles             After every  use··--      Lemon Pot and Pan            Every Tuesday shine
                                                        degreaser                    the exterior surface
                                                     -- High shine                   with high shine.
          Bathroom        l   Once per shift            Liquid Comet® with Bleach    Check every shift
                                                        Lysol Disinfectant         1 Sign out chemicals
                                                        Deodorizing Cleaner          from laundry (supply)
                                                                                     during assigned hours.
          Food warmer ancC    · ·oauy                 I High Shine I degreaser       Inside - weekly with                  '
          food carts                                                                 degreaser; outside
       ..                                                                            daily with hioh sh[ne .




                                                              Page 6 of 7



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                                  Aurora/ICE Processing Center                   NUMBER:
                               POLICY and PROCEDURE MANUAL                      12.1.4 • AUR
       Ge®
        The GEO Group, Inc;.
                               CHAPTER: Sanitation
                                                                               REVISED ON:
                               TITLE: Sanitation Procedures                      07/09/07

                               RELATED ACA STANDARDS: 4-ALDF-1A-              SUPERSEDES:
                               01, 1A..02, 1A-04, 1A-07                         10/24/06



      I. POLICY

         To provide staff and detainees with a clean sanitary living environment consistent
         with all applicable codes, standards and sound detention practice.

       II. PROCEDURES

         The Environmenbll Spepiali~t/Fire Safety Manager (ESJFSM) will develop and
         oversee procedures that ensure the facility's sanitation plan is carried out; however,
         ensuring high standards of housekeeping and sanitary practices in the various areas
         of the facility is the responsibility of each department head.

         A. Housekeeping Plan

             A written housekeeping plan will be developed for each area of the facHity,
             including common areas such as halls, exterior walks, etc. These plans will be
             prepared as directed by the ES/FSM, the Captain, and the head of the ·
             department involved.

             Plans wm include a cleaning schedule for the area; specific ass]gnrnents for
             detainees assigned to sanitary duties; a time schedule for completion; and
             specific instructions for cleaning cells, dayrooms, and other common areas,
             floors and doors, storage areas, other program areas, walls and windows, toilet
             and shower facilities, and equipment.

             Housekeeping plans for alt areas will be forwarded to the ES/FSM for review and
             approval. Copies of all approved plans will be distributed and maintained in the
             offices of the department head responsible for the area, the Shift Supervisor, the
             ES/FSM, and the Captain.

             Waste disposal procedures will be included in the sanitation plan, providing for
             proper collection, storage, and disposal of all liquid and solid waste
             accumulations for each area.




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                     Necessary deaning supplies and equipment will be procured from the Supply
                     Officer. Detention Officers and other department heads are responsible for the
                     secure, hygienic storage of all cleaning supplies, including the proper storage of
                     mops and other wet items.

               B. Detainee Sanitation Responsibilities

                     Each detainee will be responsible for the cleanliness of his or her cell or living
                     area, including walls, floors, sink, toilet, windows, and other property within the
                     cell, room, or living area.

                     Beds wm be made neatly and tightly. Nothing will be placed over windows, lights,
                     vents, bars or grilles. Shoes will be neatly lined up under the edge of the bed.
                     All personal property will be stored in the locker/container provided. Detainee
                     personal property storage and limits will be enforced in the process of all
                     sanitation inspections.

                     Cleaning materials and articles for cleaning will be issued by the Dormitory
                     Officer to each detainee. The detainee is responsible for the proper use and
                     care of these articles.

               C. Dormitory Sanitation

                     At 7:00 a.m. each day, the following items will be issued:

                           •    Mops and buckets
                           •    Brooms
                           •    Scrub brushes
                           •    Cleaning rags
                           •    Cleaning Chemicals for use ln toilet, sink and shower areas

                     Cleaning items will be secured each day by 10:00 a.m.; before and after issue
                     staff will inspect all cleaning equipment for safety, cleanliness and damage.

                     At 10:30 a.m. and 5:30 p.m. each day, the following items will be issued:

                           •     Mops and buckets
                           •     Brooms
                           •     Cleaning rags

                     Cleaning items wm be secured each day by 12:00 p.m. and 7:00 p.m.,
                     respectively. Staff wm inspect all cleaning equipment for safety, cleanliness and
                     damage, before and after issue.


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    see
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                               Aurora/ICE Processing Center
                            POLICY AND PROCEDURE MANUAL                 NUMBER: 12.1.4 -AUR




              The Dormitory Officer and Shift Supervisor are responsible for inspection of all
              cleaning.

              Cleaning implements will be kept in the janitorial closet, so as to provide for
              proper ventilation and drying.

          D. Segregation/Special Management Unit Sanitation

              Cells wilt be cleaned daily and as detainees are transferred or released. This will
              include cleaning the toilet/sink areas, mopping the floor, sanitizing mattresses
              and pillows and wiping down flat surfaces.

          E. Common Area Sanitation

              The 1st Shift is responsible for cleaning corridors and other common areas of the
              facility. Detainee workers wm conduct the cleaning.

              Waxing of corridors and dormitory floors will be done as needed during the week
              on 151 Shift. All floors will be kept clean, dry, and free of hazardous substances.

              The Shift Supervisor wm inspect common areas for compliance wlth al! sanitation
              standards and oversee the correction of any deficiencies.

          F. Inspection Program

              Pre-assigned staff members will conduct daily inspections of sanitation levels in
              all areas of the facility. These inspections will be in addition to the security
              inspections conducted under Policy and Procedures 10.2.33 -AUR. A record of
              these inspections will be filed with the Captain.

              Post orders will reflect the areas of sanitation and inspection responslbility for
              each staff member.

              The Dormitory/Unit Officer will inspect all living areas dally and report any
              infraction of these regulations to the immediate supervisor. The officer will notlfy
              detainees of unsatisfactory conditions, in cases of continued noncompliance,
              staff will issue an incident report.

              Each department head will personally inspect his or her department or area of
              responsibility at least once a week; that inspection will be logged.

              The ES/FSM will conduct monthly inspections of sanitation levels in ail areas of



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              the facility and will keep a record of those inspections on file.

              Weekly inspections wm be conducted by a qualified staff member to include
              sanitation and safety procedures. The scope of this inspection is outlined in
              policy 1.2.8-AUR

              The county Health Department will conduct annual inspections to ensure and
              document compliance with all applicable !aw and regulations related to sanitation
              and health. The Food Services Manager will keep a record of those inspections.

          G. Water Supply

              The facility's potable water source and supply, owned and operated by the public
              water department, !s certified at least annually by an independent, outside source
              to be in compliance with all jurisdictional laws and regulations. [4-ALDF-1A*07M]

          H. Maintenance Issues

              The facility wi!I have an established system for reporting, responding to, and
              accounting for materials and labor relating to all facility repairs.

              Major maintenance of toilets. wash basins, sinks, and other equipment in the
              facility will be the responsibility of the Maintenance Department.


      THIS POLICY WILL BE REVIEWED AT LEAST ANNUALLY AND UPDATED AS
      NEEDED.

      Gray highlighted areas are the changes made to th.e current revision.


      QUESTIONS/SUGGESTIONS REGARDING THIS POLICY SHALL BE ADDRESSED
      TO THE ASSISTANT FACILITY ADMINISTRATOR OF SECURITY OPERATIONS.



      APPROVED:CJ:k®:f •
                                 Warden
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      EFFECTIVE:         -, ,   '1   IO1

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        The GEO Group, Inc.
                              CHAPTER: Sanitation
                                                                               REVISED ON:
                              TITLE: Sanitation Procedures                       10/21/08

                              RELATED ACA STANDARDS: 4-ALDF-1A·               SUPERSEDES:
                              01, 1A·02, 1A·04, 1A-07                              7/09l07



      I. POLICY
        To provide staff and detainees with a clean sanitary living environment consistent
        with all applicable codes, standards and sound detention practice.

      II. PROCEDURES

         The Environmental Specialist/Fire Safety Manager (ES/FSM) will develop and
         oversee procedures that ensure the facility's sanitation plan ls carried out; however,
         ensuring high standards of housekeeping and sanitary practices in the various areas
         of the facility is the responsibility of each department head.

         A. Housekeeping Plan

             A written housekeeping plan will be developed for each area of the facility,
             including common areas such as halls, exterior walks, etc. These plans will be
             prepared as directed by the ES/FSM, the Captain, and the head of the
             department involved.

             Plans will include a cleaning schedule for the area; specific assignments for
             detainees assigned to sanitary duties; a time schedule for completion; and
             specific instructions for cleaning cells, dayrooms, and other common areas,
             floors and doors. storage areas, other program areas, walls and windows, toilet
             and shower facilities, and equipment.

             Housekeeping plans for all areas will be forwarded to the ES/FSM for review and
             approval. Copies of all approved plans will be distributed and maintained ln the
             offices of the department head responsible for the area, the Shift Supervisor, the
             ES/FSM, and the Captain.

             Waste disposal procedures will be included in the sanitation plan, providing for
             proper collection, storage, and disposal of all liquid and solid waste
             accumulations for each area.



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              Necessary cleaning supplies and equipment will be procured from the Supply
              Officer. Detention Officers and other department heads are responsible for the
              secure, hygienic storage of all cleaning supplies, including the proper storage of
              mops and other wet items.

          B. Detainee Sanitation Responsibilities

              Each detainee will be responsible for the cleanliness of hls or her cell or living
              area, including walls, floors, sink, toilet, windows, and other property within the
              cell, room, or living area.

              Beds will be made neatly and tightly. Nothing wm be placed over windows, lights,
              vents, bars or grilles. Shoes will be neatly lined up under the edge of the bed.
              All personal property will be stored in the locker/container provided. Detainee
              personal property storage and limits will be enforced in the process of al!
              sanitation inspections.

              Cleaning materials and articles for cleaning will be issued by the Dormitory
              Officer to each detainee. The detainee is responsible for the proper use and
              care of these articles.

          C. Dormitory Sanitation

              At 7:30 a.m. each day, the following items will be issued:

                  •   Mops and buckets
                  •   Brooms
                  •   Scrub brushes
                  •   Cleaning rags
                  •   Cleaning Chemicals

              Cleaning items will be secured each day by 10:00 p.m.; before and after issue
              staff will inspect all cleaning equipment for safety, cleanliness and damage.

              At 10:30 a.m. and 5:30 p.m. each day, the following items will be issued:

                  •   Mops and buckets
                  •   Brooms
                  •   Cleaning rags

              Cleaning items will be secured each day by 12:00 p.m. and 7:00 p.m.,
              respectively. Staff will inspect all cleaning equipment for safety, cleanliness and
              damage, before and after issue.


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                The Dormitory Officer and Shift Supervisor are responsible for inspection of all
                cleaning.

                Cleaning implements will be kept in the janitorial closet, so as to provide for
                proper ventilation and drying.

           D. Segregation/Special Management Unit Sanitation

                Cells will be cleaned daily and as detainees are transferred or released. This will
                include cleaning the toilet/sink areas, mopping the floor, sanitizing mattresses
                and pillows and wiping down flat surfaces.

           E. Common Area Sanitation
                The 1st Shift is responsible for cleaning corridors and other common areas of the
                facility. Detainee workers will conduct the cleaning.

                Waxing of corridors and dormitory floors will be done as needed during the week
                on 1st Shift. All floors will be kept clean, dry, and free of hazardous substances.

                The Shift Supervisor will inspect common areas for compliance with all sanitation
                standards and oversee the correction of any deficiencies.

            F. Inspection Program

                Pre-assigned staff members will conduct daily inspections of sanitation levels in
                all areas of the facility. These inspections will be in addition to the security
                inspections conducted under Policy and Procedures 10.2.33 -AUR. A record of
                these inspections will be filed with the Captain.

                Post orders will reflect the areas of sanitation and inspection responsibility for
                each staff member.

                The Dormitory/Unit Officer will inspect all living areas daily and report any
                infraction of these regulations to the immediate supervisor. The officer will notify
                detainees of unsatisfactory conditions, in cases of continued noncompliance,
                staff will issue an incident report.




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                  Aurora/ICE Processing Center                                     -----~
     The GEO Group, Inc.    POLICY AND PROCEDURE MANUAL               NUMBER: 12.   ~URJ
              Each department head will personally inspect his or her department or area of
              responsibility at least once a week; that inspection will be logged.

             The ES/FSM will conduct monthly inspections of sanitation levels in all areas of
             the facility and will keep a record of those inspections on file.

             Weekly inspections will be conducted by a qualified staff member to include
             sanitation and safety procedures. The scope of this inspection is outlined in
             policy 1.2.8-AUR

             The county Health Department will conduct annual inspections to ensure and
             document compliance with all applicable law and regulations related to sanitation
             and health. The Food Services Manager will keep a record of those inspections.

          G. Water Supply

             The facility's potable water source and supply, owned and operated by the public
             water department, is certified at least annually by an independent, outside source
             to be in compliance with al! jurisdictional laws and regulations. [4-ALDF-1A-07M]

         H. Maintenance Issues

             The facility will have an established system for reporting, responding to, and
             accounting for materials and labor relating to all facility repairs.

             Major maintenance of toilets, wash basins, sinks, and other equipment in the
             facility will be the responsibility of the Maintenance Department


      THIS POLICY Will BE REVIEWED AT LEAST ANNUALLY AND UPDATED AS
      NEEDED.




      QUESTIONS/SUGGESTIONS REGARDING THIS POLICY SHALL BE ADDRESSED
      TO THE ASSISTANT WARDEN OF OPERATI  S.


      APPROVED:f'T'/l%lfD(,
                                  Warden T. Hunt


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CONFIDENTIAL                                                                         GEO_MEN 00038668
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                                                    HOUSEKEEPING PLAN

                                                POLICY AND PROCEDURE MANUAL
                                                                              ATTACHMENT TO
                                                                              NUMBER: 12.1.4 .. AUR

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         The facility establishes this Housekeeping Plan to maintain the physical plant and to
         ensure that sanitation and safety practices comply with applicable laws, codes,
         regulations, and standards relating to sanitation and safety within the facility.

         Overview

         A clean, safe, and sanitary working and living environment requires certain general
         sanitation standards be maintained. Particular attention will be given to the following:

                1. Facility floors will be kept clean, dry and free of hazardous substances.
                2. Sinks and toilets wm be clean and sanitary.
                3. Furniture. shelves, and countertops will be clean and free of dust.
                4. Windows and mirrors will be kept clean.
                5. Mops and rags will be laundered.
                6. Window sills, ledges, and door frames and tracks wm be kept clean and free of
                   dust and debris.
                7. Trash will be removed promptly and placed in the designated removal containers
                   and/or areas.

         All safety and sanitation inspections will be conducted under the Warden's direction and
         authorization. The Environmental Specialist/ Fire Safety Manager {ES/FSM) will be
         authorized to take all measures necessary to comply with the applicable laws and
         regulations of the county and state in regard to facility safety and sanitation.

         All staff members conducting sanitation inspections will furnish the Warden with written
         reports, including specific deficiencies noted during the inspection and the required
         corrective action. The ES/FSM wm ensure deficiencies are corrected in the required
         amount of time and will confer with the inspecting staff member regarding the
         documentation of corrective actions or any re-inspection that may be required.

         Inspections will include, but not be limited to ensuring the following:

                1. Floors are clean, dry, and free of hazardous substances.
                2. There are no t..mnecessary accumulations of flammables.
                3. Exits are not blocked and are usable.
                4. Fire equipment is accessible.
                5. No vermin or pest infestation is evident
                6. There are no plumbing leaks in the water system.

          If any of these conditions exist, the supervisor will take immediate corrective action if
          possible, or a work order will be forwarded to the ES/FSM.



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      food Service Areas

      It is the responsibility of the Food Services Administrator to ensure high sanitation
      standards are maintained in the food preparation and service areas. The Kitchen
      Supervisor will supervise the kitchen detainee work force in daily routing cleaning
      duties. The kitchen will be inspected and rated by the county Health Department at
      !east annually.

      Medical Areas

      Special attention will be afforded the medical area to comply with health standards for
      cleanliness. The staff member supervising detainee workers will ensure they are under
      that individual's constant, direct visual observation while cleaning the medical area.

      Public Lobby

      The public lobby will be swept, mopped, and waxed as needed by detainee workers. All
      gfass will be cleaned on an as-needed basis. Additionally, the lobby will be monitored
      for cleanliness throughout the day by assigned staff. Any hazards or unclean conditions
      will immediately be corrected by a detainee worker under an officer's supervision.

      Visitation

      Ail visitation areas will be cleaned as needed by detainee workers after the area is
      thoroughly searched by staff. Afl trash will be discarded, carpets vacuumed, and glass
      cleaned as needed. Carpets will, at a minimum, be cleaned once a quarter. This
      cleaning will be conducted on 1st Shift.

      Restricted Security Areas

      The control center and the Maintenance Shop wm be off limits to detainees at all times
      (no exceptions). These areas will be cleaned by facility staff members. This cleaning
      will consist of deaning counter areas, discarding trash, vacuuming the carpet, as
      needed, and cleaning all glass, as needed.

      Rear Sally Port Area

      The rear sally port area is a means of egress during emergency situations; therefore, it
      must be free of debris, parked vehicles, etc. It is the responslbilrty of the Intake Officer
      to ensure that this area is clear by the end of each shift




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      liquid and Solid Waste

      Liquid waste will be disposed of through the waste water system. Mop bucket water wm
      be disposed of by pouring the water down the designated mop bucket deaning sink.
      Solid waste and trash will be removed from departments and housing units at least once
      each day and placed in the trash container.

      Carpet Cleaning

      All carpets will be cleaned at least once every quarter by detainee workers. Carpets
      ma be cleaned more fro uently as needed. All carpets will be vacuumed daily.          8
                                      with 1st shift will be responsible for this cleaning.

      Hazardous Materials

      AH caustic, toxic, and flammable materials will be handled in accordance with Policy
      13.1.4-AUR

      Pest/Vermin Control

      The facility uses the service of a qualified professional extermination contractor. This
      service's purpose is to eliminate pest infestations and provide preventive treatment of
      future infestations.

      The professional contractor will service the facility at least once a month; this schedule
      may vary from time to time in areas such as the facility kitchen. If necessary, additional
      preventive treatments may be scheduled.

      Housekeepers

      Supervising housekeepers is the responsibility of the officers assigned to the
      dormitory/unit. Supervision includes assigning duties, training newly assigned
      detainees on their task, supervising work as it is done and removing detainees who do
      not perform.

      Dormitory/Unit Officers must notify the Captain of any detainee removed from worker
      status for nonperformance for duties or for vacancies that occur due to a release or
      transfer. The Classification Department is responsible for assigning the next eligible
      detainee in that dormitory/unit to fill the vacancy.

      Dormitories

      On a weekly basis or as needed, all dorms will be subject to a total sanitation project to

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                                   POLICY AND PROCEDURE MANUAL
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      assure standards are met and maintained. The responsibility for cleaning will be shared
      by 2nd and 3rd shifts. 2rict Shift will be responsible for the West side and 3rd shift
      responsible for the East side. The following schedule will be followed:

                      WESTSIDE                                                        EAST SIDE

             Monday            A     Dorm                                       Monday                                 L    Dorm
             Tuesday           B     Dorm                                       Tuesday                                M    Dorm
             Wednesday         C     Dorm                                       Wednesday                              N    Dorm
             Thursday          D     Dorm                                       Thursday                               X    Dorm
             Friday            E     Dorm                                       Friday                                 y    Dorm
             Saturday          F     Dorm                                       Saturday                               z    Dorm
             Sunday            G     Dorm                                       Sunday                                 Seg/SMU

                                              FACILITY CLEAN-UP
                                       DAILY CLEANING SCHEDULE
                                                     ------------------- ----                                                                               --·-
            AREA                   CLEANERS AND                                   SPECIAL INSTRUCTIONS
                                   DISINFECTANTS
                                         USED                                                   ················-~---····--
      Floors                  Dibs Neutral Floor Cleaner                  Sweep and damp mop.
      (Hallways, East                                                     Strip, seal and wax and spray buff as
      and West Cores,                                                     needed.
      Intake, Medical                                                 i
      Area and East
      Recreation)                                                                ............

      Windows                 Glass Cleaner                               Clean windows and wipe down surfaces
      And Window Sills                                                    to keeo them dust-free
      Sinks, Commodes         Liquid Comet® with Bleach                   Clean surfaces with cloth, scrubbing pad
      and Showers             Lysol Disinfectant                          or brush using the appropriate cleanser.                                                 '
                              Deodorizinn Cleaner                                                                                ........................
                                                                                                                                                                   '
                                                                                                                                                                   '

      Stainless Steel                                                     Wipe down surfaces with cloth                                                            <

                                                                                                                                                                   '
      (Showers, Sinks)                                                                                                        -~-~--~---------~---··
      Trash Receptacles       Lysol Disinfectant                           Empty and wipe down daity
                              Deodorizina Cleaner
      Furniture and           Lysol Disinfectant                          Wipe down surfaces with cloth
     I Equipment              Deodorizing Cleaner
     i Stainless Steel                                                    Wipe down surfaces with cloth
     i (Showers, Sinks)                                                                                                                               .......




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      seeThe GEO Group, Inc.
                                             HOUSEKEEPING PLAN

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                                     HOUSING UNIT CLEANING SCHEDULE
                                        ASSIGNED HOUSEKEEPERS
                                        AND DORMITORY TRUSTEE

               AREA                    SCHEDULED                    CLEANERS AND                     SPECIAL
                                        CLEANING                    DISINFECTANTS                 INSTRUCTIONS
                                                                          USED
      Floors                   Once per shift (more often         Dibs Neutral Floor          Sweep and damp mop
                               if needed}                         Cleaner
      Divider Walls,           Once per shift (more often         Glass Cleaner               Clean windows and ·-
      Windows                  if needed)                                                     wipe down surfaces to
      And Window Sills                                                                        keep them dust-free
      Sinks, Commodes          Once per shift (more often         liquid Comet® with          Clean surfaces with
      and Showers              if needed)                         Bleach                      cloth, scrubbing pad or
                                                                  Lysol Disinfectant          brush using the
                                                                  Deodorizing Cleaner         aooropriate cleanser.
      Trash Receptacles      Daily                                      Lysol Disinfectant    Empty and wipe down
     t - - - - - - - - + - - - - - - - - - - - · · · · · .............. Deodorizing Cleaner   daily_·················-------1
      Furniture              Once per shift                             Lysol Disinfectant    Wipe down surfaces
                                                                  Deodorizing Cleaner_____ with cloth                                   _
                                                                  Lysol Disinfectant          Wipe down surfaces
                                                                  Deodorizinq Cleaner         with cloth
      Stainless Steer   Once per shift)                                                       Wipe down surfaces
      {Showers, Sinks}                                                                        with cloth
     f-'-----'----"'--+-------------··-···-
      Mattresses        Upon movement of                          Lysol Disinfectant          Wipe down surfaces·-
                        detainees                                 Deodorizing Cleaner         with cloth
                                                                                                     ~-~·--·-----
      Light             Once a month                              Lysol Disinfectant          Wipe down surfaces
      FixturesNents/Air                                           Deodorizing Cleaner         with cloth. Use air
      Ducts                                                                                   compressor to clean
                                                                                              vents. (Done by
                                                                                              Maintenance Trustee).




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         The GEO Group, Inc.      POLICY AND PROCEDURE MANUAL_ _~---:_r:_MA-C_E_~-~-E~i
                                                                                                                                                                          8              1~~   -=J
                                                                          KITCHEN
                                                                     CLEANING SCHEDULE
                                                                                                                                                  ·------------·--------- ----
               AREA                                   SCHEDULED                                  CLEANER&                                                                           SPECIAL
                                                        CLEANING                               DISINFECTANTS                                                                    INSTRUCTIONS
      Tables and Sinks,                           After every use                         Pro Quat 100                                                                      Polish with High Shine
                                                                                     1
      Stainless Steel                                                                i                                                                                      every Wednesday
      Pots and Pans                               After every use                         Lemon Pot and Pan                                                                 Use 3-sink table and
                                                                                          Degreaser                                                                         sanitize
      Ovens and Grill                             After every use                         Pro Kling Foaming Oven and                                                        Degrease every
                                                                                          Grill Cleaner                                                                     Thursday with
                                                                   ···-~·-··-··-    . ···············- ....................
                                                                                                                                                                            deoreaser
      Dishwasher                                  After every use                         Descaler                                                                          De-lime every
                                                                                                                                                                            Thursday and polish
                                                                                                                                                                            with hioh shine
      Chemical Room                               Daily                                   Kitchen degreaser.                                                                Sweep and mop.
                                                                                                                                                                            Restock cabinet
                                                                                                                                                                            weekly
      Floors                                      Hourly or as needed                     Kitchen degreaser                                                                 Monitor constantly,
                                                                                                                                                   ... ...............      Use "'Wet Floor" sions
      Storeroom                                   Daily                                   Kitchen degreaser                                                                 Seep and mop. Every
                                                                                                                                                                            Monday move racks
                                                                                                                                                                            from the wall and mop
                                                                                                                                                                            floor.
                                        I
                                          i
      Hoods and filters                           Twice daily                             Grease cutter                                                                     Clean the filters every
                                                                                          High shine                                                                        Monday and polish
                                          t
                                                                                                                                                                            with hioh shine.
                              --··---
      Freezer and                                 Every Tuesday                           Freezer clean                                                                     Sweep floor and wipe
     ..IQfrigera!2_~-----                                                                                                                                                   down the racks
      Kettles                                     After every use                      Lemon Pct and Pan                                                                    Every Tuesday shine
                                                                                       degreaser                                                                            the exterior surface
                   ················----       -                                        High shine                                                                           with hiah shine.     ----~-----
      Bathroom                                    Once per shift                       Liquid Comet® with Bleach                                                            Check every shift.
                                                                                     1 Lysol Disinfectant                                                                   Sign out chemicals
                                                                                     I Deodorizing Cleaner                                                                  from laundry (supply)
                                                                                                                                                                            durinq assigned hours.
                                                                                   -· 1
      Food warmer and                             Daily                              ! High Shine / degreaser                                                               Inside - weekly with
      food carts                                                                                                                                                            degreaser; outside
                                                                                                                                                                            daily with high shine.
                                                                                                              -        --------------------~---




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          The GEO Group, inc.
                                       HOUSEKEEPING PLAN               ATTACHMENT TO
                                                                       NUMBER: 12.1.4 • AUR
                                 POLICY AND PROCEDURE MANUAL



         QUESTIONS/SUGGESTIONS REGARDING THIS POLICY SHALL BE ADDRESSED
         TO THE ENVIRONMENTAL SPECIALIST/FACILITY FIRE SAFETY MANAGER.




         APPROVED:        ~          S/F.
                                                               DATE:    ;.R./zlo
                                                                          ,~ r--


         APPROVED:{T),t,'E;GC ·              ~
                                Warden T. Hunt
                                                                       DATE: (   1,/1..Jf) ct




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                                           Aurora/ICE Processing Center                                 NUMBER:
                                  POLICY and PROCEDURE MANUAL
                                                                                                       12.1.4-AUR

     Ge® The GEO Group, Inc.
                                  CHAPTER: Sanitation

                                  TITLE: Sanitation Procedures
                                                                                                      REVISED ON:
                                                                                                        7/29/09

                                  RELATED ACA STANDARDS: 4-ALDF-1A-01, 1A-                           SUPERSEDES:
                                  02, 1A-04, 1A-07                                                       10/21/08


    I.   POLICY

         To provide staff and detainees with a clean sanitary living environment consistent with all applicable
         codes, standards and sound detention practice.

    II. PROCEDURES

         The Environmental Specialist/Fire Safety Manager (ES/FSM} will develop and oversee procedures that
         ensure the facility's sanitation plan is carried out; however, ensuring high standards of housekeeping and
         sanitary practices in the various areas of the facility is the responsibility of each department head.

    A. Housekeeping Plan

         A written housekeeping plan will be developed for each area of the facility, including common areas such
         as halls, exterior walks, etc. These plans will be prepared as directed by the ES/FSM, the Captain, and
         the head of the department involved.

         Plans will include a cleaning schedule for the area; specific assignments for detainees assigned to
         sanitary duties; a time schedule for completion; and specific instructions for cleaning cells, dayrooms, and
         other common areas, floors and doors, storage areas, other program areas, walls and windows, toilet and
         shower facilities, and equipment

         Housekeeping plans for all areas will be forwarded to the ES/FSM for review and approval. Copies of all
         approved plans will be distributed and maintained in the offices of the department head responsible for
         the area, the Shift Supervisor, the ES/FSM, and the Captain.

         Waste disposal procedures will be included in the sanitation plan, providing for proper collection, storage,
         and disposal of all liquid and solid waste accumulations for each area.

         Necessary cleaning supplies and equipment wm be procured from the Supply Officer. Detention Officers
         and other department heads are responsible for the secure, hygienic storage of all cleaning supplies,
         including the proper storage of mops and other wet items.

    B. Detainee Sanitation Responsibilities

         Each detainee will be responsible for the cleanliness of his or her cell or living area, including walls,
         floors, sink, toilet, windows, and other property within the cell, room, or living area.

         Beds will be made neatly and tightly. Nothing will be placed over windows, lights, vents, bars or grilles.
         Shoes will be neatly lined up under the edge of the bed. All persona! property will be stored in the
         locker/container provided. Detainee personal property storage and limits will be enforced in the process
         of all sanitation inspections.

         Cleaning materials and articles for cleaning will be issued by the Dormitory Officer to each detainee. The
         detainee is responsible for the proper use and care of these articles.



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                                        POLICY AND PROCEDURE MANUAL
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                               CHAPTER: Sanitation
    The GEO Group, Inc.
                               TITLE: Sanitation Procedures
                                                                                                                          i

    C. Dormitory Sanitation

          At 6:09 a.m. each day, the following items will be issued:

              •   Mops and buckets
              •   Brooms
              •   Scrub brushes
              •   Cleaning rags
              •   Cleaning Chemicals

                  Cleaning items will be secured each day by 10:00 p.m.; before and after issue staff will inspect all
                  cleaning equipment for safety, cleanliness and damage.

                  At 10:® a.m. andj;QQ p.m. each day, the following items will be issued:

                     •   Mops and buckets
                     •   Brooms
                     •   Cleaning rags

                  Staff wm inspect alt· clean~g equJpm,ent for safety,. deanlinessI~ntl·rJarp•,b:efure
                  issue.Lysol bo .        be secured with the above listed it~!ud;:t~;{lQimatwhi
                  will be secured t       pply office.

                  The Dormitory Officer and Shift Supervisor are responsible for inspection of all cleaning.

          Cleaning implements win be kept in the janitorial closet, so as to provide for proper ventilation and drying.

    D. Segregation/Special Management Unit Sanitation

          Cells will be cleaned daily and as detainees are transferred or released. This will include cleaning the
          toilet/sink areas, mopping the floor, sanitizing mattresses and pillows and wiping down flat surfaces.

    E. Common Area Sanitation

           The 1st Shift is responsible for cleaning corridors and other common areas of the facility. Detainee
           workers will conduct the cleaning.

           Waxing of corridors and dormitory floors will be done as needed during the week on 1st Shift. AH floors
           will be kept clean, dry, and free of hazardous substances.

           The Shift Supervisor wm inspect common areas for compliance with all sanitation standards and oversee
           the correction of any deficiencies.

     f.    Inspection Program

          Pre-assigned staff members will conduct daily inspections of sanitation levels in all areas of the facility.
          These inspections will be in addition to the security inspections conducted under Policy and Procedures
          10.2.33 - AUR A record of these inspections will be filed with the Captain.


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         Post orders will reflect the areas of sanitation and inspection responsibility for each staff member.

         The Housing Unit Officer will inspect all living areas daily and report any infraction of these regulations to
         the immediate supervisor. The officer will notify detainees of unsatisfactory conditions, in cases of
         continued noncompliance, staff wm issue an incident report.

         Each department head will personally inspect his or her department or area of responsibility at least once
         a week; that inspection wlll be logged.

         The ES/FSM will ~11duct weekty ~d monthly inspections of sanitation levels in all areas of the facility
         and will keep a record of those inspections on file.

         The county Health Department will conduct annual inspections to ensure and document compliance with
         all applicable law and regulations related to sanitation and health. The Food Services Manager will keep
         a record of those inspections.

      G. Water Supply

         The facility's potable water source and supply, owned and operated by the public water department, is
         certified at least annually by an independent, outside source to be in compliance with all jurisdictional
         laws and regulations. [4-ALDF-1A-07MJ

      H. Maintenance Issues

         The facility will have an established system for reporting, responding to, and accounting for materials and
         labor relating to all facility repairs.

         Major maintenance of toilets, wash basins, sinks, and other equipment in the facility will be the
         responsibility of the Maintenance Department.


         THIS POLICY Will BE REVIEWED AT LEAST ANNUALLY AND UPDATED AS NEEDED.




         QUESTIONS/SUGGESTIONS REGARDING THIS POLICY SHALL BE ADDRESSED TO THE
         ASSISTANT WARDEN OF OPERATIONS. /


         APPROVED:/fut.:Qf •
                            Warden T. Hunt
                                            ~
         EFFECTIVE:




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CONFIDENTIAL                                                                                             GEO_MEN 00038634
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                                           HOUSEKEEPING PLAN

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                                                                                    NUMBER: 12.1.4 • AUR




      The facility establishes this Housekeeping Plan to maintain the physical plant and to ensure that
      sanitation and safety practices comply with applicable laws, codes, regulations, and standards relating to
      sanitation and safety within the facillty.

      Overview

      A clean, safe, and sanitary working and living environment requires certain general sanitation standards
      be maintained. Particular attention will be given to the following:

          1. Facility floors will be kept clean, dry and free of hazardous substances.
          2. Sinks and toilets will be clean and sanitary.
          3. Furniture, shelves, and countertops will be clean and free of dust.
          4. Windows and mirrors will be kept clean.
          5. Mops and rags will be laundered.
          6. Window sills, ledges, and door frames and tracks will be kept clean and free of dust and debris.
          7. Trash will be removed promptly and placed in the designated removal containers and/or areas.

      All safety and sanitation inspections will be conducted under the Warden's direction and authorization.
      The Environmental Specialist/ Fire Safety Manager (ES/FSM} will be authorized to take all measures
      necessary to comply with the applicable laws and regulations of the county and state in regard to facility
      safety and sanitation.

      All staff members conducting sanitation inspections will furnish the Warden with written reports, including
      specific deficiencies noted during the inspection and the required corrective action. The ES/FSM will
      ensure deficiencies are corrected in the required amount of time and will confer with the inspecting staff
      member regarding the documentation of corrective actions or any re-inspection that may be required.

      Inspections will include, but not be limited to ensuring the following:

          1. Floors are clean, dry, and free of hazardous substances.
          2. There are no unnecessary accumulations of flammables.
          3.   Exits are not blocked and are usable.
          4.   Fire equipment is accessible.
          5.   No vermin or pest infestation is evident.
          6.   There are no plumbing leaks in the water system.

      If any of these conditions exist, the supervisor will take immediate corrective action if possible, or a work
      order wiH be completed fftH,.PY forwarded to the ES/FSM.

      Food Service Areas

      It is the responsibility of the Food Services Administrator to ensure high sanitation standards are
      maintained in the food preparation and service areas. The Kitchen Supervisor will supervise the kitchen
      detainee work force in daily routing cleaning duties. The kitchen will be inspected and rated by the county
      Health Department at least annually.

      Medical Areas

      Special attention will be afforded the medical area to comply with health standards for cleanliness. The
      staff member supervising detainee workers will ensure they are under that individual's constant, direct
      visual observation while cleaning the medical area. W~POO<>~irig]~Ule med~l UI)~; the ggu~.m,ic~t


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                                                 HOUSEKEEPING PLAN                    ATTACHMENT TO
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              ·, liJl~e lfijlizeti '.2                      c::ontaining fresW:water/disinfectant. The ~rn:tbucket
              . ·1iiid b:fnmre an .
      Public lobby

      The public lobby will be swept, mopped, and waxed as needed by detalnee workers. AU glass will be
      cleaned on an as-needed basis. Additionally, the lobby will be monitored for cleanliness throughout the
      day by assigned staff. Any hazards or unclean conditions will immediately be corrected by a detainee
      worker under an officer's supervision.

      Visitation

      All visitation areas will be cleaned as needed by detainee workers after the area is thoroughly searched
      by staff. All trash will be discarded, carpets vacuumed, and glass cleaned as needed. Carpets will, at a
      minimum, be cleaned once a quarter. This cleaning will be conducted on 1st Shift.

      Restricted Security Areas

      The control center and the Maintenance Shop will be off limits to detainees at all times {no exceptions).
      These areas will be cleaned by facility staff members. This cleaning will consist of cleaning counter
      areas, discarding trash, vacuuming the carpet, as needed, and cleaning all glass, as needed.

      Rear Sally Port Area

      The rear sally port area is a means of egress during emergency situations; therefore. it must be free of
      debris, parked vehicles, etc. It is the responsibility of the Intake Officer to ensure that this area is clear by
      the end of each shift.


      Liquid and Solid Waste

      Liquid waste will be disposed of through the waste water system. Mop bucket water will be disposed of
      by pouring the water down the designated mop bucket cleaning sink. Solid waste and trash will be
      removed from departments and housing units at least once each day and placed in the trash container.

      Carpet Cleaning

      All carpets will be vacuumed daily. The Facility Janitor in conjunction with 151 shift will be responsible for
      this cleaning. AU carpets wt1fbe Cleaned as necessary.

      Hazardous Materials

      All caustic, toxic, and flammable materials will be handled in accordance with Policy t 3.1.4·AUR.

      PestNermin Control

      The facility uses the service of a qualified professional extermination contractor. This service's purpose is
      to eliminate pest infestations and provide preventive treatment of future infestations.




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                                            HOUSEKEEPING PLAN

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                                                                                     ATTACHMENT TO
                                                                                     NUMBER: 12.1.4 • AU R




      The professional contractor will service the facility at least once a month; this schedule may vary from
      time to time In areas such as the facility kitchen. If necessary, additional preventive treatments may be
      scheduled.

      Housekeepers

      Supervising housekeepers is the responsibility of the officers assigned to the dormitory/unit. Supervision
      includes assigning duties, training newly assigned detainees on their task, supervising work as It is done
      and removing detainees who do not perform.

      Dormitory/Unit Officers must notify the Captain of any detainee removed from worker status for
      nonperformance for duties or for vacancies that occur due to a release or transfer. The Classification
      Department is responsible for assigning the next eligible detainee in that dormitory/unit to fill the vacancy.

      '19o~ini Units
      On a weekly basis or as needed, all h~utilits will be subject to a total sanitation project to assure
      standards are met and maintained. The responsibility for cleaning will be shared by 2 00 and 3rd shifts.       2nd
      Shift will be responsible for the West side and 3rd shift responsible for the East side. The following
      schedule will be followed:

                    WESTSIDE                                               EAST SIDE

              Monday           A      Dorm                            Monday                l        Dorm
              Tuesday          B      Dorm                            Tuesday               M        Dorm
              Wednesday        C      Dorm                            Wednesday             N        Dorm
              Thursday         D      Dorm                            Thursday              X        Dorm
              Friday           E      Dorm                            Friday                Y     Dorm
              Saturday         F      Dorm                            Saturday              Z     Dorm
              Sunday           G      Dorm                            Sunday                Seg/SMU

                                                 FACILITY CLEAN-UP
                                             DAILY CLEANING SCHEDULE

             AREA                   CLEANERS AND                          SPECIAL INSTRUCTIONS
                                    DISINFECTANTS
                                          USED
      Floors                  Dibs Neutral Floor Cleaner         Sweep and damp mop.
      (Hallways, East and                                        Strip, seal and wax and spray buff as
      West Cores, tntake,                                        needed.
      Medical Area and
      East Recreation)
      Wlndows                 Glass Cleaner                     I Clean windows and wipe down surfaces to
      And Window Sills                                       [ keee them dust-free
      Sinks, Commodes         Liquid Comet® with Bleach      i Clean surfaces with cloth, scrubbing pad or
      and Showers             Lysol Disinfectant Deodorizing brush using the appropriate cleanser.
                              Cleaner
     , Stainless Steel        LY$01. Qisinfectant Oeqdoozing Wipe down surfaces with cloth
       (Showers, Sinks)       Cleaner                                                                 ·-----------
       Trash Receptacles      Lysol Disinfectant Deodorizing Empty and wipe down daily
                    -   ,-
                              Cleaner

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       Ge®The GEO Group, Inc.
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                                                                                           ATTACHMENT TO
                                                                                           NUMBER: 12.1.4-AUR

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       Furniture and               Lysol Disinfectant Deodorizing         Wipe down surfaces with cloth
       E ui ment                   Cleaner
       Stainless Steel Lr    ;~itjfectantOeodoozing Wipe down surfaces with cloth
                                                                     1.




       S~ow~~S-~i~n=ks-;;./......__Jl....:::::::;:::::.:.:z:..~~~~~~~--'~~~~~~~~~~~~~~----'

                                            HOUSING UNIT CLEANING SCHEDULE
                                                   ASSIGNED HOUSEKEEPERS
                                                    AND DORMITORY TRUSTEE
      ---       AREA                       SCHEDULED                    CLEANERS ANO                      SPECIAL···-···---
                                            CLEANING                    DISINFECTANTS                INSTRUCTIONS
                    .....                                                    IJSEO
       Floors                     Once per shift (more often if      Dibs Neutral Floor           Sweep and damp mop
                                  needed)                            Cleaner
       Divider Walls,             Once per shift (more often if      Glass Cleaner                Clean windows and
       Windows                    needed)                                                         wipe down surfaces to
       And Window Sills                                                                           keep them dust-free
       Sinks, Commodes            Once per shift (more often if      Liquid Comet"°® with         Clean surfaces with
       and Showers                needed}                            Bleach                       cloth, scrubbing pad or
                                                                     Lysol Disinfectant           brush using the
      ~~···
                                                                     DeodorizinQ Cleaner          aooropriate cleanser.
       Trash Receptacles          Daily                              Lysol Disinfectant           Empty and wipe down
                                                                     Deodorizing Cleaner          daily
      ' Furniture                 Once per shift                  ····LysolDisinfectant           Wipe down surfaces
                                                                     Deodorizing Cleaner          with cloth
       Equipment                   Each Shift                        Lysol Disinfectant           Wipe down surfaces
                                                                     Deodorizing Cleaner          with cloth
        Stainless Steel           Once per shift)                                                 Wipe down surfaces
      , (Showers, Sinks)                                                                          with cloth
      ; Mattresses                Upon movement of                   Lysol o'isinfectant          Wipe down surfaces
                                  detainees                          Deodorizing Cleaner          with cloth
             ·-·
       Light                      Once a month                       Lysol Disinfectant           Wipe down surfaces
       FixturesNents/Air                                             Deodorizing Cleaner          with cloth. Use air
       Ducts                                                                                      compressor to clean
                                                                                                  vents. (Done by
                                                                                                  Maintenance Trustee).




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                                              HOUSEKEEPING PLAN

                                     POLICY AND PROCEDURE MANUAL
                                                                                        ATTAC HM ENT TO
                                                                                        NUMBER: 12.1.4-AUR

                                 !

                                                        KITCHEN
                                                   CLEANING SCHEDULE

                  AREA           SCHEDULED                           CLEANER&                         SPECIAL
                                   CLEANING                       DISINFECTANTS                   INSTRUCTIONS     ~~-~--
         Tables and.Sinks.· After every use                  Pro Quat 100                     Polish with High Shine
         Stainless Steel                                                                     everv Wednesday
         Pots and Pans      After every use                  Lemon Pot and Pan                Use 3-sink table and
                                                             Degreaser                       sanitize
         Ovens and Grill     After every use                 Pro Kling Foaming Oven and       Degrease every
                                                             GriH Cleaner                    Thursday with
                                                                                             deQreaser
         Dishwasher          After every use                 Descaler                         De-rime every Thursday
                                                                                             and polish with high
                                                                                 ~-          shine
                                     ·--·-·
         Chemical Room       Daily                           Kitchen degreaser.              Sweep and mop.
                                                                                              Restock cabinet weeklv
         Floors              Hourly or as needed             Kitchen degreaser                Monitor constantly,
                                                                                              Use "Wet Floor" signs
         Storeroom           Daily                           Kitchen degreaser               Seep and mop. Every
                                                                                              Monday move racks
                                                                                             from the wall and mop
                              +¥--··¥-----··-···                                      ...    floor.
         Hoods and filters   Twice daily                     Grease cutter                    Clean the filters every
                                                             High shine                       Monday and polish with
                                                                                              hioh shine.
         Freezer and         Every Tuesday                   Freezer clean                    Sweep floor and wipe
         refriaerator                                                                         down the racks
         Kettles             After every use                 Lemon Pot and Pan                Every Tuesday shine
                                                             degreaser                        the exterior surface with
                                                             HiQh shine
         Bathroom
                    --       Once per shift
                                                   ··-..-·                    · · - - · - ... Check
                                                             Liquid Comet® with Bleach
                                                                                              hJ9h shine. -···- _
                                                                                                      every shift.
                                                             Lysol Disinfectant Deodorizing Sign out chemicals from
                                                             Cleaner                          laundry (supply) during
                                                                                             assigned hours.
         Food warmer and     Daily                           High Shine I degreaser           Inside - weekly with
         food carts                                                                          degreaser; outside daily
                                                                                             with high shine.

         QUESTIONS/SUGGESTIONS REGARDING THIS POLICY SHALL BE ADDRESSED TO THE
         ENVIRONMENTAl SPECI.ALISTIFACILITY FIRE SAFETY MANAGER.




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                                            Aurora/ICE Processing Center                                 NUMBER:
                                   POLICY and PROCEDURE MANUAL
                                                                                                        12.1.4-AUR

     ae0  The GEO Group, Inc,
                                   CHAPTER: Sanitation

                                   TITLE: Sanitation Procedures
                                                                                                       REVISED ON:
                                                                                                         3/30110

                                   RELATED A.CA STANDARDS: 4-ALDF-1A-01, 1A-                          SUPERSEDES:
                                   02, 1A-04, 1 A-07                                                       7/29/09


    I.    POLICY

          To provide staff and detainees with a clean sanitary living environment consistent with all applicable
          codes. standards and sound detention practice.

    II.   PROCEDURES

          The Environmental Specialist/Fire Safety Manager (ES/FSM) wlll develop and oversee procedures that
          ensure the facility's sanitation plan is carried out; however, ensuring high standards of housekeeping and
          sanitary practices in the various areas of the facility is the responsibility of each department head.

    A. Housekeeping Plan

          A written housekeeping plan will be developed for each area of the facility, including common areas such
          as halls, exterior walks, etc. These plans wm be prepared as directed by the ES/FSM, the Captain, and
          the head of the department involved.

          Plans will include a cleaning schedule for the area; specific assignments for detainees assigned to
          sanitary duties; a time schedule for completion; and specific instructions for cleaning cells, dayrooms, and
          other common areas, floors and doors, storage areas, other program areas, walls and windows, toilet and
          shower facilities, and equipment

          Housekeeping plans for all areas will be forwarded to the ES/FSM for review and approval. Copies of all
          approved plans will be distributed and maintained in the offices of the department head responsible for
          the area, the Shift Supervisor, the ES/FSM, and the Captain.

          Waste disposal procedures will be included in the sanitation plan, providing for proper collection, storage,
          and disposal of all liquid and solid waste accumulations for each area.

          Necessary cleaning supplies and equipment will be procured from the Supply Officer. Detention Officers
          and other department heads are responsible for the secure, hygienic storage of all cleaning supplies,
          including the proper storage of mops and other wet items.

    B. Detainee Sanitation Responsibilities

          Each detainee will be responsible for the cleanliness of his or her cell or living area, including waHs, floors,
          sink, toilet, windows, and other property within the cell, room, or living area.

          Beds will be made neatly and tightly. Nothing will be placed over windows, lights, vents, b~rs or grilles.
          Shoes will be neatly lined up under the edge of the bed. All personal property will be stored in the
          locker/container provided. Detainee personal property storage and limits will be enforced in the process
          of all sanitation inspections.

          Cleaning materials and articles for cleaning will be issued by the Dormitory Officer to each detainee. The
          detainee is responsible for the proper use and care of these articles.



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                                             Aurora/ICE Processing Center




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                                          POLICY AND PROCEDURE MANUAL

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    The GEO Group, Inc.
                                   CHAPTER: Sanitation
                         " ..i_
                                  ITITLE: Sanitation Procedures                              NUMBER: 12.1.4-AUR

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    C. Dormitory Sanitation

          At 6:00 a.m. each day, the following items will be issued:

              •   Mops and buckets
              •   Brooms
              •   Scrub brushes
              •   Cleaning rags
              •   Cleaning Chemicals

                  Cleaning items will be secured each day by 10:00 p.m.; before and after issue staff will inspect all
                  cleaning equipment for safety, cleanliness and damage.

                  At 10:00 a.m. and 5:00 p.m. each day, the following items will be issued:

                     •     Mops and buckets
                     •     Brooms
                     •     Cleaning rags

                  Staff will inspect all deaning equipment for safety, cleanliness and damage, before and after
                  issue. Lysol bottles will be secured with the above listed items until 1O:OOpm at which time they
                  will be secured in the supply office.

                  The Dormitory Officer and Shift Supervisor are responsible for inspection of all cleaning.

          Cleaning implements will be kept in the janitorial closet, so as to provide for proper ventilation and drying.

    D. Segregation/Special Management Unit Sanitation

          Cells will be cleaned daily and as detainees are transferred or released. This wlll include cleaning the
          toilet/sink areas. mopping the floor, sanitizing mattresses and pillows and wiping down flat surfaces.

    E. Common Area Sanitation

           The 1st Shift is responsible for cleaning corridors and other common areas of the facility. Detainee
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           will be kept clean, dry, and free of hazardous substances.

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           the correction of any deficiencies.

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          Pre-assigned staff members will conduct daily inspections of sanitation levels in all areas of the facility.
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CONFIDENTIAL                                                                                            GEO_MEN 00038614
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                                                                                            NUMBER: 12.1.4-AUR
   ~              ~             CHAPTER: Sanitation
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                             TITLE: Sanitation Procedures


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        The Housing Unit Officer will inspect a!! living areas daily and report any infraction of these regulations to
        the immediate supervisor. The officer wi!! notify detainees of unsatisfactory conditions, in cases of
        continued noncompliance, staff wl!! issue an incident report

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        and will keep a record of those inspections on file.

       The county Health Department will conduct annual inspections to ensure and document compliance with
       all applicable law and regulations related to sanitation and health. The Food Services Manager will keep
       a record of those inspections.

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        The facility's potable water source and supply, owned and operated by the public water department, is
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        THIS POLICYWtll BE REVIEWED AT LEAST ANNUALLY AND UPDATED AS NEEDED.




       QUESTIONS/SUGGESTIONS REGARDING THIS POLICY SHALL BE ADDRESSED TO THE
       ASSISTANT WARDEN OF OPERATIONS.


       APPROVED:           1~~0~.
                      --~=----....._K._._.__---+-
                           Warden C.R Gilkey


        EFFECTIVE:        "'3kDl/0
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                                    POLICY and PROCEDURE MANUAL
                                                                                                        12.1.4-AUR

      Ge@ The GEO Group, Inc.
                                    CHAPTER: Sanitation

                                    TITLE: Sanitation Procedures
                                                                                                        REVISED ON:
                                                                                                           6114110

                                    RELATED ACA STANDARDS: 4-ALDF-1A-01, 1A~                           SUPERSEDES:
                                    02, 1A-04, 'IA-07                                                      3/30/10


     I.   POLICY

          To provide staff and detainees with a clean sanitary living environment consistent with all applicable
          codes, standards and sound detention practice.

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          The Environmental Specialist/Fire Safety Manager (ES/FSM) will develop and oversee procedures that
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          and disposal of all liquid and solid waste accumulations for each area.

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          Shoes wm be neatly lined up under the edge of the bed. All personal property wm be stored in the
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          of all sanitation inspections.

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                                                                                              NUMBER: 12.1.4 -AUR

    The GEO Group, Inc.
                                TITLE: Sanitation Procedures


     C. Dormitory Sanitation

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            •   Mops and buckets
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                will be secured in the ~im1M,,.,.          ... ox

                The ffl'II.C'·:·tl\lrl Officer and Shift: Supervisor are responsible for inspection of all cleaning.

        Cleaning implements will be kept in the janitorial closet, so as to provide for proper ventilation and drying.

    D. Segregation!Speclal Management Unit Sanitation

        Cells will be cleaned daily and as detainees are transferred or released. This will include cleaning the
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        Pre-assigned staff members will conduct daily inspections of sanitation levels in all areas of the facility.
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        10.2.33-AUR A record of these inspections will be filed with the Captain.

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                                                                                            NUMBER: 12.1.4-AUR


                             TITLE: Sanitation Procedures


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       and will keep a record of those inspections on file.

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       THIS POLICY Will BE REVIEWED AT LEAST ANNUALLY AND UPDATED AS NEEDED.




       QUESTIONS/SUGGESTIONS REGARDING THIS POLICY SHALL BE ADDRESSED TO THE
       ASSISTANT WARDEN OF OPERATIONS.


       APPROVED:           ~ /:?. ~
                      Warden CR Gilkey



       EFFECTIVE:




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CONFIDENTIAL                                                                                           GEO_MEN 00038627
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                                   POLICY and PROCEDURE MANUAL
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     Ge®  Corrections
                                   CHAPTER: Sanitation

                                   TITLE: Sanitation Procedures
                                                                                                       REVISED ON:
                                                                                                         2/22/11

                                   RELATED ACA STANDARDS: 4-ALDF-1A-01, 1A-                            SUPERSEDES:
                                   02, 1A-04, 1A-07                                                       6/14/10



    I.    POLICY

          To provide staff and detainees with a clean sanitary living environment consistent with all applicable
          codes, standards and sound detention practice.

    II.   PROCEDURES

          The Environmental Specialist/Fire Safety Manager (ES/FSM) will develop and oversee procedures that
          ensure the facility's sanitation plan is carried out; however, ensuring high standards of housekeeping and
          sanitary practices in the various areas of the facility is the responsibility of each department head.

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          Shoes will be neatly lined up under the edge of the bed. All personal property will be stored in the
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          of all sanitation inspections.

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                               TITLE: Sanitation Procedures


    C. Dormitory Sanitation

          At 6:00 a.m. each day, the following items will be issued:

              •   Mops and buckets
              •   Brooms
              •   Scrub brushes
              •   Cleaning rags
              •   Cleaning Chemicals

                  Cleaning items will be secured each day by 10:00 p.m.; before and after issue staff will inspect all
                  cleaning equipment for safety, cleanliness and damage.

                  At 10:00 a.m. and 5:00 p.m. each day, the following items will be issued:

                     •    Mops and buckets
                     •    Brooms
                     •    Cleaning rags

                  Staff will inspect all cleaning equipment for safety, cleanliness and damage, before and after
                  issue. Lysol bottles will be secured with the above listed items until 1O:OOpm at which time they
                  will be secured in the housing unit janitor closet.

                  The Housing Unit Officer and Shift Supervisor are responsible for inspection of all cleaning.

          Cleaning implements will be kept in the janitorial closet, so as to provide for proper ventilation and drying.

    D. Segregation/Special Management Unit Sanitation

          Cells will be cleaned daily and as detainees are transferred or released. This will include cleaning the
          toilet/sink areas, mopping the floor, sanitizing mattresses and pillows and wiping down flat surfaces.

    E. Common Area Sanitation

           The 1st Shift is responsible for cleaning corridors and other common areas of the facility. Detainee
           workers will conduct the cleaning.

           Waxing of corridors and housing unit floors will be done as needed during the week on 1st Shift. All
           floors will be kept clean, dry, and free of hazardous substances.

           The Shift Supervisor will inspect common areas for compliance with all sanitation standards and oversee
           the correction of any deficiencies.

     F.    Inspection Program

          Pre-assigned staff members will conduct daily inspections of sanitation levels in all areas of the facility.
          These inspections will be in addition to the security inspections conducted under Policy and Procedures
          10.2.33 - AUR. A record of these inspections will be filed with the Captain.


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                                         POLICY AND PROCEDURE MANUAL

                               CHAPTER: Sanitation
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                               TITLE: Sanitation Procedures


          Post orders will reflect the areas of sanitation and inspection responsibility for each staff member.

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          all applicable law and regulations related to sanitation and health. The Food Services Administrator will
          keep a record of those inspections.

     G. Water Supply

          The facility's potable water source and supply, owned and operated by the public water department, is
          certified at least annually by an independent, outside source to be in compliance with all jurisdictional
          laws and regulations. [4-ALDF-1A-07M]

     H. Maintenance Issues

          The facility will have an established system for reporting, responding to, and accounting for materials and
          labor relating to all facility repairs.

          Major maintenance of toilets, wash basins, sinks, and other equipment in the facility will be the
          responsibility of the Maintenance Department.

     I.     Bl<>od or other body fluid

          Following any incident where there is spiHage of blood or other body fluids the area shall be sanitized
          immediately by a member of the health service staff pursuantto the ''Guidelines for Blood Spill Clean-Up".
          The reporting staff member will notify the on duty Shift Supervisor who will make the determination as to
          whether there is a need to preserve evidence.

          Security staff wjfl ensure the area is .secure and that all persons enterfng the area are donning appropriate
          Pers.anal Protective Equipment for the situation. At no time will detainees be utilized for cleaning blood
          spills.

          Medical staff will utilize "Clean-Up Kits" to clean up any blood and body fluids as well as decontaminate
          the area. Either a hospital grade disinfectantor a solution of one part bleach to 10 parts water will be
          utilized to clean all surfaces .. Once the area has been properly cleaned, the kit and any additiona.1 items
          utilized for the cleaning will be disposed of properly in a contaminated waste receptacle in the medical
          unit. Security staff will make a final walk through of. the area to ensure no equipment has been left behind.

          Any clothing that has been contaminated with these fluids, including the equipment .and clothing of staff
          involved shall immediately be disinfected or destroyed as appropriate. Disinfecting of clothing will include
          the use otan inner degradable bag and outer yellow contaminated linen bag. Staff assigned to deliver the
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       contaminated linen to the laundry will ensure the bag is delivered directly to the Laundry Officer only after
       proper protective equipment is donned.

       Staff should exercise reasonable care when handling or exposed to the above body fluids, justas they do
       in addressing other types of risks common in their work.


       THIS POLICY WILL BE REVIEWED AT LEAST ANNUALLY AND UPDATED AS NEEDED.

                       Gray highlighted areas are the changes made to the current revision.


       QUESTIONS/SUGGESTIONS REGARDING THIS POLICY SHALL BE ADDRESSED TO THE
       ASSISTANT WARDEN OF OPERATIONS.


       APPROVED:
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                     Warden M. Holm



       EFFECTIVE:




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CONFIDENTIAL                                                                                         GEO_MEN 00007206
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                                                   Aurora Detention Center
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                                                                                                      APPROVED BY:
          Corrections              CHAPTER: Sanitation
                                   TITLE: Sanitation Procedures
                                   RELATED ACASTANDARDS: 4-ALDF-1A-01, 1A-
                                   02, 1A-04, 1A-07
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                                                                                            Corrections
                             CHAPTER: Sanitation
                             TITLE: Sanitation Procedures


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            •   Mops and buckets
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                                  CHAPTER: Sanitation
                                  TITLE: Sanitation Procedures

          Post orders will reflect the areas of sanitation and Inspection responsibility for each staff member.

          The Housing Unit Officer will inspect al! living areas daily and report any infraction of these regulations to
          the immediate supervisor. The officer will notify detainees of unsatisfactory conditions, in cases of
          continued noncompliance, staff will issue an incident report.

          Each Department Head wm personally inspect his or her department or area of responsibility at least once
          a week; that inspection will be logged.

          The ES/FSM will conduct weekly and monthly inspections of sanitation levels in al! areas of the facility
          and will keep a record of those inspections on file.

          The county Health Department will conduct annual inspections to ensure and document compliance with
          all applicable law and regulations related to sanitation and health. The Food Services Administrator will
          keep a record of those inspections.

     G. Water Supply

          The facility's potable water source and supply, owned and operated by the public water department, is
          certified at least annually by an independent. outside source to be in compliance with all jurisdictional
          laws and regulations. [4-ALDF-1A-07MJ

     H. Maintenance Issues

          The facility will have an established system for reporting, responding to, and accounting for materials and
          labor relating to all facility repairs.

          Major maintenance of toilets, wash basins, sinks, and other equipment in the facility will be the
          responsibility of the Maintenance Department.

     I.     Blood or other body fluid

          Following any incident where there ls spillage of blood or other body fluids the area shall be sanitized
          immediately by a member of the health service staff pursuant to the "Guidelines for Blood Spill Clean-Up",
          The reporting staff member wm notify the on duty Shift Supervisor who wilt make the determination as to
          whether there is a need to preserve evidence,

          Security staff will ensure the area is secure and that all persons entering the area are donning appropriate
          Personal Protective Equipment for the situation. At no Ume will detainees be utilized for cleaning blood
          spills.

          Medical staff will utilize "Clean-Up Kits" to clean up any blood and body fluids as well as decontaminate
          the area. Either a hospital grade disinfectant or a solution of one part bleach to 10 parts water will be
          utilized to clean all surfaces. Once the area has been properly cleaned, the kit and any additional items
          utilized for the cleaning will be disposed of properly in a contaminated waste receptacle in the medical
          unit. Security staff will make a final walk through of the area to ensure no equipment has been left behind.

          Any clothing that has been contaminated with these fluids, including the equipment and clothing of staff
          involved shall immediately be disinfected or destroyed as appropdate. Disinfecting of clothing will include
          the use of an inner degradable bag and outer yellow contaminated linen bag. Staff assigned to deliver the
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                                            Aurora Detention Center
                           I          POUCY AND PROCEDURE MANUAL
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    Corrections                                                                          Corrections
                               CHAPTER: Sanitation
                               TITLE: Sanitation Procedures

       contaminated linen to the laundry will ensure the bag is delivered directly to the Laundry Officer only after
       proper protective equipment is donned.

       Staff should exercise reasonable care when handling or exposed to the above body fluids, just as they do
       in addressing other types of risks common in their work.


       THJS POLICY WILL BE REVIEWED AT LEAST ANNUALLY ANO UPDATED AS NEEDED.




       QUESTIONS/SUGGESTIONS REGARDING THIS POLICY SHALL BE ADDRESSED TO THE
       ASSISTANT WARDEN Of OPERATIONS.




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                                                                                                            REVISED ON:

         Ge®   Corrections
                                                     Aurora Detention Center
                                                 POLICY and PROCEDURE MANUAL
                                                                                                               5/6/13
                                                                                                           SUPERSEDES:
                                                                                                              9/10/12
               ICE APPROVAL:                                 12.1.4-AUR                                    APPROVED BY:

                                        CHAPTER: Sanitation
                                        TITLE: Sanitation Procedures
                                        RELATED ACA STANDARDS: 4-ALDF-1A-01, 1A-
                                        02, 1A-04, 1A-07



        I.     POLICY

               To provide staff and detainees with a clean sanitary living environment consistent with all applicable
               codes, standards and sound detention practice.

        II.    PROCEDURES

               The Environmental Specialist/Fire Safety Manager (ES/FSM) will develop and oversee procedures that
               ensure the facility's sanitation plan is carried out; however, ensuring high standards of housekeeping and
               sanitary practices in the various areas of the facility is the responsibility of each department head.

       A. Housekeeping Plan

               A written housekeeping plan will be developed for each area of the facility, including common areas such
               as halls, exterior walks, etc. These plans will be prepared as directed by the ES/FSM, the Chief of
               Security, and the head of the department involved.

               Plans will include a cleaning schedule for the area; specific assignments for detainees assigned to
               sanitary duties; a time schedule for completion; and specific instructions for cleaning cells, dayrooms, and
               other common areas, floors and doors, storage areas, other program areas, walls and windows, toilet and
               shower facilities, and equipment.

               Housekeeping plans for all areas will be forwarded to the ES/FSM for review and approval. Copies of all
               approved plans will be distributed and maintained in the offices of the Department Head responsible for
               the area, the Shift Supervisor, the ES/FSM, and the Chief of Security.

               Waste disposal procedures will be included in the sanitation plan, providing for proper collection, storage,
               and disposal of all liquid and solid waste accumulations for each area.

               Necessary cleaning supplies and equipment will be procured from the Supply Officer. Detention Officers
               and other Department Heads are responsible for the secure, hygienic storage of all cleaning supplies,
               including the proper storage of mops and other wet items.

        B. Detainee Sanitation Responsibilities

               Each detainee will be responsible for the cleanliness of his or her cell or living area, including walls,
               floors, sink, toilet, windows, and other property within the cell, room, or living area.

               Beds will be made neatly and tightly. Nothing will be placed over windows, lights, vents, bars or grilles.
               Shoes will be neatly lined up under the edge of the bed. All personal property will be stored in the
               locker/container provided. Detainee personal property storage and limits will be enforced in the process
               of all sanitation inspections.

               Cleaning materials and articles for cleaning will be issued by the Dormitory Officer to each detainee. The
               detainee is responsible for the proper use and care of these articles.



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                                    TITLE: Sanitation Procedures


       C. Dormitory Sanitation

               At 6:00 a.m. each day, the following items will be issued:

                   •   Mops and buckets
                   •   Brooms
                   •   Scrub brushes
                   •   Cleaning rags
                   •   Cleaning Chemicals

                       Cleaning items will be secured each day by 10:00 p.m.; before and after issue staff will inspect all
                       cleaning equipment for safety, cleanliness and damage.

                       At 10:00 a.m. and 5:00 p.m. each day, the following items will be issued:

                          •    Mops and buckets
                          •    Brooms
                          •    Cleaning rags

                       Staff will inspect all cleaning equipment for safety, cleanliness and damage, before and after
                       issue. Lysol bottles will be secured with the above listed items until 1O:OOpm at which time they
                       will be secured in the housing unit janitor closet.

                       The Housing Unit Officer and Shift Supervisor are responsible for inspection of all cleaning.

               Cleaning implements will be kept in the janitorial closet, so as to provide for proper ventilation and drying.

        D. Segregation/Special Management Unit Sanitation

               Cells will be cleaned daily and as detainees are transferred or released. This will include cleaning the
               toilet/sink areas, mopping the floor, sanitizing mattresses and pillows and wiping down flat surfaces.

        E. Common Area Sanitation

                The 1st Shift is responsible for cleaning corridors and other common areas of the facility. Detainee
                workers will conduct the cleaning.

                Waxing of corridors and housing unit floors will be done as needed during the week on 1st Shift. All
                floors will be kept clean, dry, and free of hazardous substances.

                The Shift Supervisor will inspect common areas for compliance with all sanitation standards and oversee
                the correction of any deficiencies.

         F.     Inspection Program

               Pre-assigned staff members will conduct daily inspections of sanitation levels in all areas of the facility.
               These inspections will be in addition to the security inspections conducted under Policy and Procedures
               10.2.33 - AUR. A record of these inspections will be filed with the Chief of Security.

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                                    CHAPTER: Sanitation
                                    TITLE: Sanitation Procedures

               Post orders will reflect the areas of sanitation and inspection responsibility for each staff member.

               The Housing Unit Officer will inspect all living areas daily and report any infraction of these regulations to
               the immediate supervisor. The officer will notify detainees of unsatisfactory conditions, in cases of
               continued noncompliance, staff will issue an incident report.

               Each Department Head will personally inspect his or her department or area of responsibility at least once
               a week; that inspection will be logged.

               The ES/FSM will conduct weekly and monthly inspections of sanitation levels in all areas of the facility
               and will keep a record of those inspections on file.

               The county Health Department will conduct annual inspections to ensure and document compliance with
               all applicable law and regulations related to sanitation and health. The Food Services Administrator will
               keep a record of those inspections.

        G. Water Supply

               The facility's potable water source and supply, owned and operated by the public water department, is
               certified at least annually by an independent, outside source to be in compliance with all jurisdictional
               laws and regulations. [4-ALDF-1A-07M]

         H. Maintenance Issues

               The facility will have an established system for reporting, responding to, and accounting for materials and
               labor relating to all facility repairs.

               Major maintenance of toilets, wash basins, sinks, and other equipment in the facility will be the
               responsibility of the Maintenance Department.

         I.      Blood or other body fluid

               Following any incident where there is spillage of blood or other body fluids the area shall be sanitized
               immediately by a member of the health service staff pursuant to the "Guidelines for Blood Spill Clean-Up".
               The reporting staff member will notify the on duty Shift Supervisor who will make the determination as to
               whether there is a need to preserve evidence.

               Security staff will ensure the area is secure and that all persons entering the area are donning appropriate
               Personal Protective Equipment for the situation. At no time will detainees be utilized for cleaning blood
               spills.

               Medical staff will utilize "Clean-Up Kits" to clean up any blood and body fluids as well as decontaminate
               the area. Either a hospital grade disinfectant or a solution of one part bleach to 10 parts water will be
               utilized to clean all surfaces. Once the area has been properly cleaned, the kit and any additional items
               utilized for the cleaning will be disposed of properly in a contaminated waste receptacle in the medical
               unit. Security staff will make a final walk through of the area to ensure no equipment has been left behind.

               Any clothing that has been contaminated with these fluids, including the equipment and clothing of staff
               involved shall immediately be disinfected or destroyed as appropriate. Disinfecting of clothing will include
               the use of an inner degradable bag and outer yellow contaminated linen bag. Staff assigned to deliver the

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                                    CHAPTER: Sanitation
                                    TITLE: Sanitation Procedures

               contaminated linen to the laundry will ensure the bag is delivered directly to the Laundry Officer only after
               proper protective equipment is donned.

               Staff should exercise reasonable care when handling or exposed to the above body fluids, just as they do
               in addressing other types of risks common in their work.


               THIS POLICY WILL BE REVIEWED AT LEAST ANNUALLY AND UPDATED AS NEEDED.




               QUESTIONS/SUGGESTIONS REGARDING THIS POLICY SHALL BE ADDRESSED TO THE
               ASSISTANT WARDEN OF OPERATIONS.




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                                                                                                            REVISED ON:

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                                                     Aurora Detention Center
                                                 POLICY and PROCEDURE MANUAL
                                                                                                              08/18/14
                                                                                                           SUPERSEDES:
                                                                                                              5/06/13
               ICE APPROVAL:                                 12.1.4-AUR                                    APPROVED BY:

                                        CHAPTER: Sanitation
                                        TITLE: Sanitation Procedures
                                        RELATED ACA STANDARDS: 4-ALDF-1A-01, 1A-
                                        02, 1A-04, 1A-07



        I.     POLICY

               To provide detainees and staff with a clean living environment consistent with all applicable codes,
               standards and sound detention practice.

        II.    PROCEDURES

               The Environmental Specialist/Fire Safety Manager (ES/FSM) will develop and oversee procedures that
               ensure the facility's sanitation plan is carried out; however, ensuring high standards of housekeeping and
               sanitary practices in the various areas of the facility is the responsibility of                each
               department head.

       A. Housekeeping Plan

               A written housekeeping plan will be developed for each area of the facility, including common areas such
               as halls, exterior walks, etc. These plans will be        as directed      the           the Chief of
               Security, and the head of the department involved.

               Plans will include a cleaning schedule for the area; specific assignments for detainees assigned to
               sanitary duties; a time schedule for completion; and instructions for cleaning cells, dayrooms, and other
               common areas, floors and doors, storage areas, other areas, walls and windows, toilet and shower
               facilities, and equipment.

               Waste disposal procedures will be included in the sanitation plan, providing for proper collection, storage,
               and disposal of all liquid and solid waste accumulations for each area.

               Necessary cleaning supplies and equipment will be procured from the                   Officer. Detention
               Officers are responsible for the secure, hygienic storage of all cleaning supplies, including the proper
               storage of mops and other wet items.

        B. Detainee Sanitation Responsibilities

               Each detainee will be responsible for the cleanliness of his or her cell or living area, including walls,
               floors, sink, toilet, windows, and other property within the cell, room, or living area.

               Beds will be made neatly and tightly. Nothing will be placed over windows, lights, vents, bars or grilles.
               Shoes will be neatly lined up under the edge of the bed. All personal property will be stored in the
               locker/container provided. Detainee personal property storage and limits will be enforced in the process
               of all sanitation inspections.

               Cleaning materials and articles for cleaning will be issued by the ITIIY§!i:ii Whit Officer to each detainee.
               The detainee is responsible for the proper use and care of these articles.



        C.                    Sanitation

               At 6:00 a.m. each day, the following items will be issued:

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                   •   Mops and buckets
                   •   Brooms
                   •   Scrub brushes
                   •   Cleaning rags
                   •   Cleaning Chemicals

                       Cleaning items will be secured each day by 10:00 p.m.; before and after issue staff will inspect all
                       cleaning equipment for safety, cleanliness and damage.

                       At 10:00 a.m. and 5:00 p.m. each day, the following items will be issued:

                          •    Mops and buckets
                          •    Brooms
                          •    Cleaning rags

                                             will inspect all cleaning equipment for safety, cleanliness and damage,
                       before and after issue. Cleaning Chemicals will be secured with the above listed items until
                       1O:OOpm at which time they will be secured in the housing unit janitor closet.

                       The Housing Unit Officer and Shift Supervisor are responsible for inspection of all cleaning.

               Cleaning implements will be kept in the janitorial closet, so as to provide for proper ventilation and drying.

        D. Segregation/Special Management Unit Sanitation

               Cells will be cleaned daily and as detainees are transferred or released. This will include cleaning the
               toilet/sink areas, mopping the floor, sanitizing mattresses and pillows and wiping down Oi;!@jjggJ~!
               surfaces.

        E. Common Area Sanitation

                The 1st Shift is responsible for cleaning corridors and other common areas of the facility.
                                  will conduct the cleaning.

                Waxing of corridors and housing unit floors will be done as needed during the week on 1st Shift. All
                floors will be kept clean, dry, and free of hazardous substances.

                The Shift Supervisor will inspect common areas for compliance with all sanitation standards and oversee
                the correction of any deficiencies.

         F.     Inspection Program

               Pre-assigned staff members will conduct daily inspections of sanitation levels in all areas of the facility.
               These inspections will be in addition to the security inspections conducted under Policy and Procedures
               10.2.33 - AUR. A record of these inspections will be filed with the Chief of Security.

               Post orders will reflect the areas of sanitation and inspection responsibility for each staff member.

               The Housing Unit Officer will inspect all living areas daily and report any infraction of these regulations to
                                                                 Page 2 of 4




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                                    CHAPTER: Sanitation
                                    TITLE: Sanitation Procedures

               the    Supervisor. The officer will          detainees of                             in cases of continued
               noncompliance,

               Each Department Head will personally inspect his or her department or area of responsibility at least once
               a week; that inspection will be il@IJmmrnl@gI

               The ES/FSM will conduct weekly and monthly mspe1~t1cms of sanitation levels in all areas of the
               and will   a record of those inspections on file.


               The wtifcounty Health Department will conduct annual inspections to ensure and document compliance
               with all applicable law and regulations related to sanitation and health. The Food Services Administrator
               will keep a record of those inspections.

        G. Water Supply

               The facility's potable water source and supply, owned and operated by the          Water department, is
               certified at least annually by an independent, outside source to be in compliance with all jurisdictional
               laws and regulations. [4-ALDF-1A-07M]

         H. Maintenance Issues

               The facility will have an established system for reporting, responding to, and accounting for materials and
               labor relating to all facility repairs.

               Major maintenance of toilets, wash basins, sinks,                and other equipment in the facility will be
               the responsibility of the Maintenance Department.

         I.      Blood or other body fluid

               Following any incident where there is spillage of blood or other      fluids the area shall be sanitized
               immediately by a member of the health service staff pursuant to the                            The reporting
               staff member will notify the on duty Shift Supervisor who will make the determination as to whether there
               is a need to preserve evidence.

               Security staff will ensure the area is secure and that all persons entering the area are donning appropriate
               Personal Protective Equipment for the situation. At no time will detainees be utilized for cleaning blood
               spills.

               Medical staff will utilize "Clean-Up Kits" to clean up any blood and body fluids as well as decontaminate
               the area. Either a hospital grade disinfectant or a solution of one part bleach to 10 parts water will be
               utilized to clean all surfaces. Once the area has been properly cleaned, the kit and any additional items
               utilized for the cleaning will be disposed of properly in a §!Ptr!~?'.il waste receptacle in the medical unit.
                                  will make a final walk through of the area to ensure no equipment has been left behind.

               Any clothing that has been contaminated with these fluids, including the equipment and clothing of staff
               involved shall immediately be disinfected or destroyed as appropriate. Disinfecting of clothing will include
               the use of an l~l@t§9!YPI@ bag and outer yellow contaminated linen bag. Staff assigned to deliver the
               contaminated linen to the laundry will ensure the bag is delivered directly to the Laundry Officer only after
               proper protective equipment is donned.

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                                   CHAPTER: Sanitation
                                   TITLE: Sanitation Procedures


               Staff should exercise reasonable care when handling or exposed to the above body fluids, just as they do
               in addressing other types of risks common in their work.


               THIS POLICY WILL BE REVIEWED AT LEAST ANNUALLY AND UPDATED AS NEEDED.




               QUESTIONS/SUGGESTIONS REGARDING THIS POLICY SHALL BE ADDRESSED TO THE
               ASSISTANT WARDEN OF OPERATIONS.




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